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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 PHARMACYCHECKER.COM, LLC,

                             Plaintiff,
                                                         No. 19-CV-7577 (KMK)
                      v.
                                                          OPINION & ORDER
 NATIONAL ASSOCIATION OF BOARDS
 OF PHARMACY, et al.,

                             Defendants.

Appearances:

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KENNETH M. KARAS, United States District Judge:

       Plaintiff PharmacyChecker.com (“Plaintiff”) brings this Action against the National

Association of Boards of Pharmacy (“NABP”), Alliance for Safe Online Pharmacies (“ASOP”),

Center for Safe Internet Pharmacies Ltd. (“CSIP”), LegitScript LLC (“LegitScript”), and

Partnership for Safe Medicines, Inc. (“PSM”; collectively “Defendants”), alleging that

Defendants unlawfully conspired to restrain trade in violation of § 1 of the Sherman Act, 15

U.S.C. § 1, and that NABP falsely advertised or promoted in violation of § 43(a) of the Lanham

Act, 15 U.S.C. § 1125. (Am. Compl. (“AC”) (Dkt. No. 82).) Before the Court are the following

Motions: Defendants’ Joint Motion to Dismiss (the “Joint Motion”), (Joint Not. of Mot. To

Dismiss by Defs. (“Joint Mot.”) (Dkt. No. 100)), PSM’s Motion to Dismiss (the “PSM Motion”),

(Def. PSM’s Mot. To Dismiss the AC as to It with Prejudice (“PSM Mot.”) (Dkt. No. 97)),

ASOP’s Motion to Dismiss (the “ASOP Motion”), (Not. of Def. ASOP’s Mot. To Dismiss the



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AC (“ASOP Mot.”) (Dkt. No. 104)), and LegitScript’s Motion to Dismiss (the “LegitScript

Motion”; collectively, the “Motions”), (Not. of Mot. (“LS Mot.”) (Dkt. No. 119)). The Joint

Motion, PSM Motion, and ASOP Motion are brought pursuant to Federal Rule of Civil

Procedure 12(b)(6). (Joint Mot.; PSM Mot.; ASOP Mot.) The LegitScript Motion is brought

pursuant to Rules 12(b)(2) and 12(b)(6). (LS Mot.) For the reasons that follow, the LegitScript

Motion is granted, the Joint Motion and the ASOP Motion are denied, and the PSM Motion is

granted in part and denied in part.

                                          I. Background

       A. Factual Background

       The following facts are drawn from Plaintiff’s Amended Complaint (“AC”) and the

documents it references, and are taken as true for the purpose of resolving the instant Motions.

       Plaintiff is a Limited Liability Company organized under the laws of New York that

offers an accreditation program for pharmacies and provides drug price comparison information.

(AC ¶ 5.) Unlike its competitors in these industries, Plaintiff offers pharmacy accreditation to,

and provides comparative drug price information for, pharmacies operating worldwide. (Id.

¶¶ 27, 33.) However, Plaintiff’s business is not limited to certifying and providing price

information for foreign pharmacies. For example, Plaintiff also accredits U.S. online

pharmacies, and includes these U.S. online pharmacies in its price comparisons. (Id. ¶¶ 40, 43.)

The AC contains no allegations regarding the size of Plaintiff’s foreign accreditation and price

comparison businesses as compared to their U.S. equivalents.

       While Plaintiff does not itself sell or import prescription drugs, it claims that the personal

import of drugs from pharmacies outside the U.S. “remains under some circumstances in a legal

gray area.” (Id. ¶ 24.) While foreign drug imports are generally prohibited due to U.S. labeling



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requirements, In re Canadian Imp. Antitrust Litig., 470 F.3d 785, 789 (8th Cir. 2006), (see also

Decl. of Erik T. Koons in Supp. of Joint Mot. (“Koons Decl.”) Ex. C (“Google Non-Prosecution

Agreement”) 1 (Dkt. No. 102-1, at 81) (“Except under very limited circumstances . . . it is

unlawful for pharmacies outside the United States to ship prescription drugs to customers in the

United States.”)), Plaintiff identifies a handful of purported exceptions where personal imports

may be permitted, (AC ¶ 57). Defendants allow that personal imports “might” be permitted in

certain, limited cases. (Mem. Of Law in Supp. of Joint Mot. (“Defs.’ Mem.”) 4 (Dkt. No. 101).)

The AC makes no allegations regarding the conditions or legality of any foreign drug imports

made by users of Plaintiff’s pharmacy accreditation and drug price comparison services. (See

generally AC.)

       NABP is an association of state boards of pharmacy. (Id. ¶ 6.) It competes with Plaintiff

in the pharmacy accreditation market through its Verified Internet Pharmacy Practice Sites

(“VIPPS”) program, its “.pharmacy” Verified Websites program, and its Internet Drug Outlet

Identification Program. (Id.)

       LegitScript is a Limited Liability Company organized under the laws of Oregon offering

verification and monitoring services for online pharmacies. (Id. ¶ 9.) Like NABP, LegitScript

also competes with Plaintiff in the pharmacy accreditation market. (Id.)

       ASOP is an organization that represents the Pharmaceutical Researchers and

Manufacturers of America (“PhRMA”) to address the problem of online drug sellers and

counterfeit drugs. (Id. ¶ 7.) NABP regularly participates in ASOP’s meetings. (Id. ¶ 67(a).)

One of ASOP’s members, GoodRx, competes with Plaintiff in the market for comparative drug

price information. (Id. ¶ 7.)




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       PSM is a nonprofit organization that has orchestrated a campaign against foreign drug

imports and often works with PhRMA. (Id. ¶ 10.) PSM is an observer to ASOP, and regularly

participates in ASOP meetings. (Id. ¶¶ 10, 67(a).)

       CSIP is an organization that includes internet commerce gatekeepers, including Google,

Microsoft, Facebook, Mastercard, and UPS. (Id. ¶ 8.) It was organized and founded at least in

part by ASOP and LegitScript. (Id.)

       In December 2018, NABP added Plaintiff’s website and blog to its Not Recommended

Sites list. (Id. ¶¶ 87, 90.) CSIP maintains a similar list, which is recognized by NABP as

adhering to NABP’s standards. (Id. ¶ 94.) In June and July of 2019, CSIP ran targeted online

ads against Plaintiff. (Id. ¶ 93.) On July 21, 2019, users of the Bing search engine began seeing

a red caution shield and a warning box when clicking on search results for pages from Plaintiff’s

website and blog. (Id. ¶ 95.) This change was driven by CSIP’s “Principles of Participation,”

under which its members have agreed to use data-sharing tools to detect and target suspected

illegitimate pharmacy websites. (Id. ¶¶ 75, 93.) The Bing warning caused Plaintiff to lose 76%

of its web traffic from Bing. (Id. ¶ 95.)

       In addition, LegitScript or NABP allegedly convinced one vendor to list Plaintiff’s

website as “not safe,” “malicious,” or “pornography.” (Id. ¶ 84.) In 2015, NABP, CSIP, ASOP,

and LegitScript published articles disparaging Plaintiff, and in 2018 PSM did the same. (Id.

¶ 85.) NABP, CSIP, ASOP, LegitScript, and various companies that are members of PSM’s

collaborator PhRMA also jointly created the “.pharmacy” domain to serve a gatekeeping

function. (Id. ¶¶ 10, 80, 96.) As a result of these actions, since March 2019, Plaintiff’s site

traffic from organic search results has dropped more than 78%, and its monthly click-through

revenue has dropped more than 77%. (Id. ¶ 109.)



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       Plaintiff alleges that these efforts, collectively, are a group boycott, which attempts to

prevent Plaintiff from competing in the global markets for online pharmacy verification and

comparative drug price information. (Id. ¶¶ 28, 30–36, 104.) Defendants have referred

explicitly to the goal of coordinating their approach to online pharmacies via email, via press

release, and in meetings. (See id. ¶¶ 69–73.) Further, Defendants share close business

relationships, including common founders, (id. ¶¶ 67, 74), interlocking membership in

organizations, (id. ¶¶ 7–8, 10, 68), attending the same meetings, (id. ¶¶ 7–8, 67(a)), and

promotion of each other’s products and activities, (id. ¶¶ 68, 77, 95).

       Plaintiff separately alleges that NABP has violated the Lanham Act. NABP’s website

claims that sites on its Not Recommended List are unsafe and illegal, including Plaintiff’s

website and blog. (Id. ¶¶ 119–122.) According to Plaintiff, these claims are false and

misleading. (Id. ¶¶ 126–32.) The purported purpose of these claims is to steer search engines

and consumers away from Plaintiff’s site and towards sites of NABP’s affiliates, which fund

NABP and its initiatives. (Id. ¶¶ 124, 134–35.) This has deceived or misled consumers, search

engines, and pharmacy websites into not using Plaintiff’s website, (id. ¶¶ 136–38), causing the

harm discussed above.

       B. Procedural Background

       Plaintiff filed its Complaint on August 13, 2019. (Compl. (Dkt. No. 1).) The next day,

Plaintiff moved for a preliminary injunction, requesting that the Court order NABP to remove

Plaintiff’s website and blog from its Not Recommended Sites list; order NABP to inform all

parties to which it had distributed the Not Recommended Sites list that Plaintiff was removed;

and order CSIP to accept the revised list, inform its members, and require its members to

incorporate this revision into their implementation of the list. (Pl.’s Not. of Mot. and Mot. For



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Prelim. Inj. (Dkt. No. 17); Pl.’s Corrected Mem. of Law in Supp. of Mot. For Prelim. Inj. (Dkt.

No. 33); Aff. of Tod Copperman, MD in Supp. of Pl.’s Mot. For Prelim. Inj. (Dkt. No. 19));

Decl. of Aaron Gott in Supp. of Pl.’s Mot. For Prelim. Inj. (Dkt. No. 20).)1 On August 16, 2019,

the Court entered Plaintiff’s proposed Order To Show Cause, ordering a briefing schedule and

scheduling oral argument. (Dkt. No. 16.) On August 30, 2019, CSIP filed a Limited Opposition

to Plaintiff’s application for a preliminary injunction. (See Decl. of Marjorie Clifton in Supp. of

CSIP’s Partial Consent and Limited Opp’n to Pl.’s Mot. For Prelim. Inj. (Dkt. No. 36); Decl. of

Barry Werbin, Esq. in Supp. of CSIP’s Partial Consent and Limited Opp’n to Pl.’s Mot. For

Prelim. Inj. (Dkt. No. 37); CSIP’s Mem. of Law in Supp. of Its Partial Consent and Limited

Opp’n to Pl.’s Mot. For A Prelim. Inj. (Dkt. No. 38).) NABP opposed in full on the same date.

(NABP’s Brief in Opp’n to Pl.’s Mot. For Prelim. Inj. (Dkt. No. 40); Decl. of Paul Olszowka in

Supp. of NABP’s Opp’n to Pl.’s Mot. For Prelim. Inj. (Dkt. No. 41); Decl. of Carmen A.

Catizone (Dkt. No. 42).) On September 6, 2019, Plaintiff filed its Reply to NABP’s Opposition,

(Pl.’s Reply Brief to NABP’s Opp’n to Pl.’s Mot. For Prelim. Inj. (Dkt. No. 53); Decl. of Aaron

Gott in Supp. of Pl.’s Reply Brief to NABP’s Opp’n to Pl.’s Mot. For Prelim. Inj. (Dkt. No. 54);

Decl. of Lisa Mittwol (Dkt. No. 55); Aff. Of Tod Cooperman, MD in Supp. of Pl.’s Mot. For

Prelim. Inj. (Dkt. No. 56)), and to CSIP’s Limited Opposition, (Pl.’s Reply Brief to CSIP’s

Opp’n to Pl.’s Mot. For Prelim. Inj. (Dkt. No. 57)). On September 11, 2019, the Court after oral

argument denied Plaintiff’s Motion for a Preliminary Injunction. (Dkt. No. 73.)




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         When filed on August 14, 2019, Plaintiff’s preliminary injunction papers contained a
deficiency. (See Dkt. No. 15.) Subsequently, the Plaintiff’s re-filed Memorandum of Law
contained an additional deficiency. (See Dkt. No. 18.) The text of this Opinion & Order cites
the operative version of each document.
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       On October 4, 2019, the Parties stipulated to and the Court ordered a schedule for

Plaintiff to submit an amended complaint, and for Defendants to respond. (Dkt. Nos. 80, 81.)

On October 21, 2019, Plaintiff filed its Amended Complaint. (AC.) On November 6, 2019,

NABP, PSM, and LegitScript filed letters requesting a pre-motion conference regarding their

contemplated motions to dismiss. (Dkt. Nos. 85, 86, 87.) Plaintiff replied on November 12,

2019, (Dkt. Nos. 89, 90, 91), and the Court scheduled a pre-motion conference, (Dkt. No. 92).

At the pre-motion conference, the Court adopted a briefing schedule for Defendants’ Motions To

Dismiss. (Dkt. (minute entry for Feb. 6, 2020); Dkt. No. 94.)

       On March 13, 2020, the Defendants filed the Joint Motion. (Joint Mot.; Defs.’ Mem;

Koons Decl. (Dkt. No. 102); Decl. of Marjorie Clifton in Supp. of Joint Mot. (“Clifton Decl.”)

(Dkt. No. 103).) On the same date, PSM, (PSM Mot.; Mem. of Law of PSM in Supp. of PSM

Mot. (“PSM’s Mem.”) (Dkt. No. 98); Decl. of Leslie E. John, Esq. in Supp. of PSM Mot. (“John

Decl.”) (Dkt. No. 99)), ASOP, (ASOP Mot.; Mem. of Law in Supp. of ASOP Mot. (“ASOP’s

Mem.”) (Dkt. No. 105); Decl. of Rachel J. Adcox in Supp. of ASOP Mot. (“Adcox Decl.”) (Dkt.

No. 107)), and LegitScript, (LS Mot. ; Decl. (“Horton Decl.”) (Dkt. No. 120); Mem. of Law in

Supp. of LS Mot. (“LS’s Mem.”) (Dkt. No. 121)), filed individual motions to dismiss.2 On April

17, 2020, Plaintiff opposed the Motions. (Pl.’s Opp’n to Joint Mot. (“Pl.’s Mem.”) (Dkt. No.

114); Pl.’s Opp’n to PSM Mot. (“Pl.’s PSM Mem.”) (Dkt. No. 111); Pl.’s Opp’n to ASOP Mot.

(“Pl.’s ASOP Mem.”) (Dkt. No. 110); Pl.’s Opp’n to LS Mot. (“Pl.’s LS Mem.”) (Dkt. No.




       2
         When filed on March 13, 2020, LegitScript’s motion to dismiss papers contained a
deficiency. (See Dkt. No. 106.) The text of this Opinion & Order cites the operative filings.


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123).)3 On May 15, 2020, Defendants submitted their reply memoranda. (Reply Mem. of Law

in Supp. of Joint Mot. (“Defs.’ Reply”) (Dkt. No. 116); Reply Mem. of Law of PSM in Further

Supp. of PSM Mot. (“PSM’s Reply”) (Dkt. No. 115); Reply in Further Supp. of ASOP Mot.

(“ASOP’s Reply”) (Dkt. No. 118); Reply Mem. of Law in Further Supp. of LS Mot. (“LS’s

Reply”) (Dkt. No. 122).)4 On September 29, 2020, Plaintiff filed a Notice of Supplemental

Authority. (Dkt. No. 124.) Defendants responded on October 2, 2020. (Dkt. No. 125.) On the

same date, Defendants submitted a Notice of Supplemental Authority. (Dkt. No. 126.) The

Court held oral argument on the Motions on November 10, 2020. (Dkt. (minute entry for Nov.

10, 2020).)

                             II. Personal Jurisdiction Over LegitScript

       LegitScript argues, pursuant to Rule 12(b)(2), that this Court lacks personal jurisdiction

over LegitScript. (LS’s Mem. 3–15.) It further argues, pursuant to Rule 12(b)(6), that the AC

fails to allege that LegitScript joined the alleged conspiracy, (id. at 15–16), and that Plaintiff’s

claim is barred by the statute of limitations, (id. at 17). Because LegitScript moves to dismiss

pursuant to Rules 12(b)(2) and (6), “the Court must first address the preliminary question[] of . . .

personal jurisdiction before considering the legal sufficiency of the allegations in the amended

complaint.” Corrado v. N.Y. Unified Court Sys., 163 F. Supp. 3d 1, 10 (E.D.N.Y. 2016) (citation

and quotation marks omitted), aff’d, 698 F. App’x 36 (2d Cir. 2017); see also Arrowsmith v.

United Press Int’l, 320 F.2d 219, 221 (2d Cir. 1963) (“[L]ogic compel[s] initial consideration of




       3
         When filed on April 17, 2020, Plaintiff’s opposition to the Joint Motion and LegitScript
Motion contained deficiencies. (See Dkt. Nos. 112, 113.) The text of this Opinion & Order cites
the operative filings.
       4
        When filed on May 15, 2020, LegitScript’s reply memorandum contained a deficiency.
(See Dkt. No. 117.) The text of this Opinion & Order cites the operative filing.
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the issue of jurisdiction over the defendant [because] a court without such jurisdiction lacks

power to dismiss a complaint for failure to state a claim . . . .”).

        On a Rule 12(b)(2) motion to dismiss, a plaintiff has the burden of establishing that the

court has jurisdiction over the defendant. See Kernan v. Kurz-Hastings, Inc., 175 F.3d 236, 240

(2d Cir. 1999). However, “[p]rior to discovery, a plaintiff challenged by a jurisdiction testing

motion may defeat the motion by pleading in good faith . . . legally sufficient allegations of

jurisdiction, i.e., by making a prima facie showing of jurisdiction.” Jazini v. Nissan Motor Co.,

148 F.3d 181, 184 (2d Cir. 1998) (quotation marks and citations omitted); see also Metro. Life

Ins. Co. v. Robertson-Ceco Corp., 84 F.3d 560, 566 (2d Cir. 1996). “[A] prima facie showing of

jurisdiction does not mean that plaintiff must show only some evidence that defendant is subject

to jurisdiction; it means that plaintiff must plead facts which, if true, are sufficient in themselves

to establish jurisdiction.” Bellepointe, Inc. v. Kohl’s Dep’t Stores, Inc., 975 F. Supp. 562, 564

(S.D.N.Y. 1997). A plaintiff may “make this showing through [its] own affidavits and

supporting materials[,] containing an averment of facts that, if credited . . . , would suffice to

establish jurisdiction over the defendant.” Whitaker v. Am. Telecasting, Inc., 261 F.3d 196, 208

(2d Cir. 2001) (quotation marks and citations omitted). While a court may consider materials

beyond the pleadings, the court must credit a plaintiff’s allegations in support of jurisdiction.

See A.I. Trade Fin., Inc. v. Petra Bank, 989 F.2d 76, 79–80 (2d Cir. 1993) (“[W]here the issue is

addressed on affidavits, all allegations are construed in the light most favorable to the plaintiff

and doubts are resolved in the plaintiff’s favor, notwithstanding a controverting presentation by

the moving party.”).

        There are three requirements for the Court to exercise personal jurisdiction. Licci ex rel.

Licci v. Lebanese Canadian Bank, SAL, 673 F.3d 50, 59–61 (2d Cir. 2012). First, “the plaintiff’s



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service of process upon the defendant must have been procedurally proper.” Id. at 59. Second,

“there must be a statutory basis for personal jurisdiction that renders such service of process

effective.” Id. Third, “the exercise of personal jurisdiction must comport with constitutional due

process principles.” Id. at 60. Here, LegitScript waived service, (Dkt. No. 24), so only the

second and third requirements are potentially at issue. As to the second requirement, the Court

considers the two operative long-arm statutes—the Clayton Act’s, 14 U.S.C. § 22, and New

York’s, N.Y. C.P.L.R. §§ 301–02—and finds that neither provides a basis for personal

jurisdiction. As a result, the Court does not consider the third requirement, and grants the

LegitScript Motion.

        A. The Clayton Act

        Section 12 of the Clayton Act contains a venue provision: a corporation may be sued

under the antitrust laws “in the judicial district whereof it is an inhabitant, but also in any district

wherein it may be found or transacts business.” 15 U.S.C. § 22. Section 12 also contains a

service of process provision: “all process in such cases may be served in the district of which

[the corporation] is an inhabitant, or wherever it may be found.” Id.5 The Second Circuit has

held that “the plain language of [§] 12 indicates that its service of process provision applies (and,

therefore, establishes personal jurisdiction) only in cases in which its venue provision is

satisfied.” Daniel v. Am. Bd. of Emergency Med., 428 F.3d 408, 423 (2d Cir. 2005). Thus,




        5
         The Court assumes without deciding that § 12 can serve as a basis for jurisdiction over
LegitScript, even though it is an LLC rather than a corporation. See Budicak, Inc. v. Lansing
Trade Grp., LLC, No. 19-CV-2449, 2020 WL 758801, at *2–3 (D. Kan. Feb. 14, 2020) (applying
§ 12 analysis to LLC defendant).
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whether the Court has jurisdiction under the Clayton Act hinges on whether LegitScript is “found

or transacts business” in the district.6 The Court finds that it does not.

       LegitScript is an LLC organized under the laws of Oregon, which maintains its principal

place of business in Oregon. (AC ¶ 9; Horton Decl. ¶ 3–4.) It is not and has never registered as

a foreign corporation in New York; it does not and has never maintained offices in New York;

and it does not own property or possess a bank account in New York. (Horton Decl. ¶¶ 5–6, 8–

9.) LegitScript employs one person who resides in New York. (Id. ¶ 7.) Half of his time is

spent traveling outside New York, and his job is not focused on New York residents or

businesses. (Id.) In addition, LegitScript certifies certain pharmacies and mental health

providers in New York. (Id. ¶ 11.)

       In Daniel, the Second Circuit held that a similarly situated company did not “transact

business” in the district. 428 F.3d at 429–30. This company “certified an unspecified number of

physicians in New York State and . . . communicated with them in the state.” Id. at 429.

Further, “application fees constitute[d] 99% of [this company’s] revenue, and [it] received an

unspecified amount of that revenue from the application fees of physicians in New York . . . .”

Id. Finally, that company “mailed a copy of its application form to [the] plaintiff . . . in the

district.” Id. In finding these facts “insufficient to show that [the company] ‘transacts business’”

in the district, id., the Second Circuit observed the following. First, the company “neither

develop[ed] its standards nor administer[ed] its certification examinations” in the district. Id. at

430. Second, the company did not “own or lease any real estate in the district,” nor did it

“maintain an office, telephone, bank account, or mailing address there.” Id. Third, the company



       6
         Here, the relevant district is the Southern District of New York. See Daniel, 428 F.3d at
430 (holding, where cited contacts are with the State of New York, and not the Western District,
that “[o]nly the latter contact is relevant to [§] 12 venue”).
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did not “advertise or solicit applicants for its certification examination in the district.” Id.

Fourth, the record suggested “no finding as to how much of [its] fee revenue derived from

applicants” in the district. Id. The AC suggests that identical findings are appropriate here, as

does the Horton Declaration. (See generally AC; Horton Decl.)

        The one factor that distinguishes LegitScript from the defendant in Daniel is that

LegitScript has an employee in New York. Compare Daniel, 428 F.3d at 430 (“[The defendant]

employs no agent to carry on its operations or promote its activities in the [district].”) with

(Horton Decl. ¶ 7 (“LegitScript currently employs one (1) individual who is a resident of the

State of New York.”)). However, the Second Circuit in Daniel focuses not on the absence of an

employee present in the district, but on the absence of an employee “to carry on its operations or

promote its activities in the [district].” Daniel, 428 F.3d at 430. Here, LegitScript’s employee in

New York “is not focused on New York residents or New York businesses.” (Horton Decl. ¶ 7.)

Moreover, the case law rejects the proposition that a single employee can create general

jurisdiction. See Zibiz Corp. v. FCN Tech. Sols., 777 F. Supp. 2d 408, 419 (E.D.N.Y. 2011)

(collecting cases) (“[C]ourts in other jurisdictions have consistently found that the mere presence

of an employee within the forum state [is] insufficient to confer general personal jurisdiction

over an out-of-state corporate defendant.”). Thus, the Court concludes that this single employee

does not materially distinguish LegitScript from the defendant in Daniel, and finds that the AC’s

allegations about LegitScript do not “evidence[] the sort of practical, everyday business or

commercial concept of doing business or carrying on business of any substantial character that




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the Supreme Court has equated to ‘transacting business’ for purposes of [§] 12 venue.” Daniel,

428 F.3d at 430 (alteration, citation, and some quotation marks omitted).7

       B. New York C.P.L.R.

               1. C.P.L.R. § 302(a)(3) – Out-of-State Tort

       Section 302(a)(3) of New York’s Civil Practice Law and Rules states that its courts have

personal jurisdiction over an out-of-state defendant where that defendant:

       commits a tortious act without the state causing injury to person or property within
       the state, except as to a cause of action for defamation of character arising from the
       act, if he (i) regularly does or solicits business, or engages in any other persistent
       course of conduct, or derives substantial revenue from goods used or consumed or
       services rendered, in the state, or (ii) expects or should reasonably expect the act to
       have consequences in the state and derives substantial revenue from interstate
       or international commerce . . . .

N.Y. C.P.L.R. § 302. As discussed supra, the AC does not allege that LegitScript transacts

business in New York. Thus, the Court considers only Section 302(a)(3)(ii).

       Jurisdiction under C.P.L.R. § 302(a)(3)(ii) rests on five elements.

       First, that [the] defendant committed a tortious act outside the State; second, that
       the cause of action arises from that act; third, that the act caused injury to a person
       or property within the State; fourth, that [the] defendant expected or should
       reasonably have expected the act to have consequences in the State; and fifth, that
       [the] defendant derived substantial revenue from interstate or international
       commerce.

LaMarca v. Pak-Mor Mfg. Co., 735 N.E.2d 883, 886 (N.Y. 2000).

       Regarding the third element, the location of the injury, “[a]n injury . . . does not occur

within the state simply because the plaintiff is a resident.” Mareno v. Rowe, 910 F.2d 1043,

1046 (2d Cir. 1990) (denying personal jurisdiction where the plaintiff “suffer[ed] the economic

consequences of his firing in New York, [but] the location of the original event which caused the



       7
          Indeed, Plaintiff does not suggest in its opposition memorandum that personal
jurisdiction is proper under the Clayton Act. (See Pl.’s LS Mem. 1–6.)
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injury [was] New Jersey”). “[W]hen identifying the original event in order to place the situs of

injury for the purposes of Section 302(a)(3), courts must disregard the location of the initial tort

and focus on the place where the first effect of the tort that ultimately produced the final

economic injury is located.” In re Vitamin C Antitrust Litig., No. 05-CV-453, 2012 WL

12355046, at *7 (E.D.N.Y. Aug. 8, 2012) (alteration and quotation marks omitted) (citing

DiStefano v. Carozzi N. Am., Inc., 286 F.3d 81, 84–85 (2d Cir. 2001)).

        Here, this element is not satisfied, because Plaintiff does not allege an injury in New

York beyond economic harm. Plaintiff alleges harm in the form of (1) decreased click-through

revenue, (AC ¶ 109), and (2) lost business from online pharmacies, (id. ¶ 113). In an analogous

case, a court in this district held that “injuries . . . allegedly suffered from the loss of sales . . . did

not occur ‘within the state’ of for the purposes of § 302(a)(3)(ii).” Barricade Books, Inc. v.

Langberg, No. 95-CV-8906, 2000 WL 1863764, at *5 (S.D.N.Y. Dec. 19, 2000). Rather, “[t]he

sites of these injuries were the locations where the two companies decided not to carry” the

plaintiff’s product. Id. Here, the AC does not allege the locations of the lost click-through

revenue and business from online pharmacies. (See generally AC.) The location of these

customers and pharmacies is the situs of Plaintiff’s injury. Thus, Plaintiff “has not articulated a

non-speculative and direct injury to person or property in New York that goes beyond the simple

economic losses that its New York-based business suffered.” Troma Entm’t, Inc. v. Centennial

Pictures Inc., 729 F.3d 215, 220 (2d Cir. 2013). As a result, Plaintiff has not adequately pleaded

personal jurisdiction as to Section 302(a)(3)(ii) against LegitScript.8



        8
         The New York Court of Appeals decision in Penguin Grp. (USA) Inc. v. Am. Buddha,
946 N.E.2d 159 (N.Y. 2011) is not to the contrary. There, the court held that the situs of an
alleged copyright injury was the plaintiff’s place of business in New York. Id. at 165. It reached
this conclusion for two reasons. First, the alleged infringement was “online” and thus “dispersed
throughout the country and perhaps the world.” Id. at 164. Second, because of the “unique
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               2. C.P.L.R. § 302(a)(2) – In-State Tort

       Section 302(a)(2) states that New York courts have jurisdiction over an out-of-state

defendant where that defendant “commits a tortious act within the state, except as to a cause of

action for defamation of character arising from the act.” N.Y. C.P.L.R. § 302(a)(2). “Antitrust

violations are tortious acts for jurisdictional purposes.” Yellow Page Sols., Inc. v. Bell Atl.

Yellow Pages Co., No. 00-CV-5663, 2001 WL 1468168, at *8 (S.D.N.Y. Nov. 19, 2001).

“[C]ourts in New York have found that where a plaintiff has presented a sufficient showing that

a conspiracy exists, personal jurisdiction may exist over a defendant based on acts that were

committed by his co-conspirators.” Laborers Local 17 Health & Ben. Fund v. Philip Morris,

Inc., 26 F. Supp. 2d 593, 601 (S.D.N.Y. 1998). For purposes of analyzing jurisdiction, the Court

assumes but does not decide that LegitScript participated in the conspiracy alleged by Plaintiff.

(See generally AC.)

       To establish jurisdiction under Section 302(a)(2), Plaintiff must allege in connection with

an act in New York “(1) that the out-of-state co-conspirator had an awareness of the effects of

the activity in New York, (2) that the New York co-conspirators’ activity was for the benefit of

the out-of-state conspirators, and (3) that the co-conspirators in New York acted at the behest of

or on behalf of, or under the control of the out-of-state conspirators.” Laborers Local, 26 F.



bundle of rights granted to copyright owners,” harm to the plaintiff arose in its domicile in New
York—i.e. in the form of “diminishment of the incentive to publish or write.” Id. at 164.
Subsequently, courts have noted that the New York Court of Appeals “carefully cabined its
holding,” and has declined to extend its reasoning even to copyright cases where the plaintiff
failed “to allege facts demonstrating a non-speculative and direct New York-based injury to its
intellectual property rights of the sort Penguin . . . recognized.” Troma Entm’t, Inc. v.
Centennial Pictures Inc., 729 F.3d 215, 219–20 (2d Cir. 2013). Here, while Plaintiff “allege[s]
that it was deprived of revenue or potential customers when the [websites] were viewed [or not
viewed] on the Internet by third parties,” Freeplay Music, LLC v. Dave Arbogast Buick-GMC,
Inc., No. 16-CV-442, 2017 WL 449913, at *5 (S.D.N.Y. Jan. 18, 2017), it does not allege harm
to its rights in copyrighted material, as did the plaintiff in Penguin.
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Supp. 2d at 602; see also Charles Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68, 85 (2d Cir.

2018) (“Under that statute, there is jurisdiction over a principal based on the acts of an agent

where the alleged agent acted in New York for the benefit of, with the knowledge and consent

of, and under some control by, the nonresident principal.” (quotation marks omitted)).

“Although a defendant need not demonstrate a formal agency relationship between co-

conspirators, the third prong of this test is designed to capture the traditional indicia of an agency

relationship.” In re Platinum & Palladium Antitrust Litig., 449 F. Supp. 3d 290, 323 n.24

(S.D.N.Y. 2020). In other words, Plaintiff must “connect the defendant with transactions

occurring in New York.” Yellow Page Sols., 2001 WL 1468168, at *8.

       Here, the AC does not allege that LegitScript had any relationship with acts committed to

further the conspiracy in New York. Plaintiff alleges only one activity targeted at New York: a

billboard launched in this district by ASOP and CSIP. (AC ¶ 2.) The AC contains no allegations

connecting LegitScript to this billboard. (See generally AC.) Plaintiff also does not allege that

LegitScript’s one employee in New York, or its accreditation of pharmacies and mental health

providers in New York, furthered the conspiracy. (Id.) Thus, Plaintiff has not adequately

pleaded personal jurisdiction as to Section 302(a)(2) against LegitScript.9



       9
          As discussed, because the Court finds that no statute authorizes personal jurisdiction
over LegitScript, the Court does not consider whether personal jurisdiction would be
constitutionally permissible.
        That said, the constitutional standard for jurisdiction based on acts of co-conspirators
appears to be more permissive than the standard under Section 302(a)(2). Due process requires
that “(1) a conspiracy existed; (2) the defendant participated in the conspiracy; and (3) a co-
conspirator’s overt acts in furtherance of the conspiracy had sufficient contacts with a state to
subject that co-conspirator to jurisdiction in that state.” Charles Schwab, 883 F.3d at 87. Unlike
the standard under Section 302(a)(2), the constitutional standard appears not to require that
LegitScript have any connection with co-conspirator acts in the forum state.
        In a different case, this more permissive constitutional standard may control. For
example, Charles Schwab determined the personal jurisdiction of a federal court in California.
Id. There, the Charles Schwab test may stand alone, as California’s long-arm statute is more
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       Nor does an alleged antitrust injury caused in New York suffice to establish personal

jurisdiction over LegitScript, for two reasons. First, as discussed supra, the AC does not allege

that Plaintiff suffered antitrust injury in New York. Second, the Court finds that antitrust injury

in New York does not, standing alone, establish personal jurisdiction under Section 302(a)(2).

District courts in the Second Circuit are split on this issue. Compare Team Obsolete Ltd. v.

A.H.R.M.A. Ltd., No. 01-CV-1574, 2002 WL 719471, at *3 n.6 (E.D.N.Y. Mar. 1, 2002) (“The

[c]ourt is simply not persuaded by plaintiffs’ bald assertion that the [c]ourt has jurisdiction over

[the defendant] because anti-trust claims were alleged against him, causing injury within this

state.”) and Yellow Page Sols., 2001 WL 1468168, at *8 (finding a lack of conspiracy

jurisdiction under Section 302(a)(2) where “[the] [p]laintiffs have failed to allege specifically

any tortious act performed by the moving defendants while in New York”) with Daniel v. Am.

Bd. of Emergency Med., 988 F. Supp. 127, 231–32 (W.D.N.Y. 1997) (“[I]f Plaintiffs suffered

antitrust injuries in New York, the injury occurring in New York is sufficient to meet the



capacious than New York’s. See Vons Companies, Inc. v. Seabest Foods, Inc., 926 P.2d 1085,
1091 (Cal. 1996) (“California's long-arm statute authorizes California courts to exercise
jurisdiction on any basis not inconsistent with the Constitution of the United States or the
Constitution of California.”). At least one court has acknowledged that the showing of
conspiracy jurisdiction required under the New York long-arm statute is different from that
required by constitutional due process. See Platinum & Palladium, 449 F. Supp. 3d at 323 n.24
(“Conspiracy jurisdiction may thus be the rare issue where the jurisdictional analysis under the
New York long-arm statute does not closely resemble the analysis under the Due Process Clause
of the Fourteenth Amendment.” (quotation marks omitted)).
        The more permissive standard may also control where the defendant does not contest that
jurisdiction is proper under the long-arm provision of the Clayton Act. See, e.g., Fire & Police
Pension Ass’n of Colo. v. Bank of Montreal, 368 F. Supp. 3d 681, 695 n.11, 700–01 (S.D.N.Y.
2019) (applying the Charles Schwab test where “defendants have not challenged this [d]istrict's
venue”); Sullivan v. Barclays PLC, No. 13-CV-2811, 2017 WL 685570, at *42 (S.D.N.Y. Feb.
21, 2017) (same).
        At least one court has applied the Charles Schwab factors to evaluate a court’s personal
jurisdiction without first considering whether a statutory long-arm provision applies. See
Contant v. Bank of Am. Corp., 385 F. Supp. 3d 284, 292–95 (S.D.N.Y. 2019). The Court is not
persuaded to adopt this approach here.
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requirement that a tortious act take place in New York under Section 302(a)(2).”) and Albert

Levine Assocs. v. Bertoni & Cotti, 314 F. Supp. 169, 171 (S.D.N.Y. 1970) (holding, where

plaintiff “maintains its place of business in New York” and “was free to sell [its] products . . .

[with] no geographical limitation[,] . . . the refusal [of a manufacturer] to sell [to the plaintiff]

damaged plaintiff in New York[,] and that is where the claim arose”). The Court agrees with the

courts that found that alleged antitrust injury caused by a co-conspirator in New York does not

suffice to establish jurisdiction under Section 302(a)(2), for two reasons. First, “[i]f jurisdiction

could be established by this type of assertion, the distinction between [§] 302(a)(2) (tort within

the state) and [§] 302(a)(3) (tort without the state, injury within the state) would become

meaningless.” Team Obsolete, 2002 WL 719471, at *3 n.6. This is because a co-conspirator in

an antitrust action could commit a tort in New York, even “where there is no indication that the

defendant was ever present within the state.” Id. Second, the Second Circuit has held that

physical presence in New York is required for jurisdiction under Section 302(a)(2), and there is

no principled reason to apply a different requirement where jurisdiction is based on the act of a

co-conspirator. See Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez, 171 F.3d 779, 790

(2d Cir. 1999) (“[The] defendant’s physical presence in New York is a prerequisite to

jurisdiction under § 302(a)(2).”); Thackurdeen v. Duke Univ., 130 F. Supp. 3d 792, 804

(S.D.N.Y. 2015) (“[T]he Court is required to apply the majority rule requiring the defendant to

physically commit the tortious act within New York.”), aff’d, 660 F. App’x 43 (2d Cir. 2016).

                3. Other Grounds for Personal Jurisdiction

        Section 301 of New York’s Civil Practice Law and Rules states that “[a] court may

exercise such jurisdiction over persons, property, or status as might have been exercised

heretofore.” N.Y. C.P.L.R. § 301. This provision allows for general jurisdiction, which “exists



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only when a corporation’s contacts with a state are so ‘continuous and systematic’ as to render

[it] essentially at home in the forum State.” Sonera Holding B.V. v. Cukurova Holding A.S., 750

F.3d 221, 225 (2d Cir. 2014) (citation and some quotation marks omitted). “A court with general

jurisdiction over a corporation may adjudicate all claims against that corporation—even those

entirely unrelated to the defendant’s contacts with the state.” Id. Here, it is straightforward that

the Court lacks general jurisdiction over LegitScript. LegitScript maintains its principle place of

business in Oregon and is organized under its laws. (Horton Decl. ¶¶ 3–4.) And, as discussed

supra, the AC does not allege that LegitScript transacts business in New York. Thus, Plaintiff

does not plead that the Court has general jurisdiction over LegitScript under C.P.L.R. § 301.

       Section 302(a)(1) states that New York courts have jurisdiction over a non-domiciliary

that “transacts any business within the state or contracts anywhere to supply goods or services in

the state,” and the “cause of action aris[es] from . . . these acts.” N.Y. C.P.L.R. § 302. Here, as

discussed, LegitScript does not transact business in New York. Thus, Plaintiff has not alleged

that the Court has jurisdiction over LegitScript under C.P.L.R. § 302(a)(1).

       Finally, Section 302(a)(4) states that New York courts have jurisdiction over a non-

domiciliary that “owns, uses or possesses any real property situated within the state.” N.Y.

C.P.L.R. § 302. Here, the AC does not allege that LegitScript owns property in New York. (See

generally AC; see also Horton Decl. ¶ 8 (stating that LegitScript does not own property in New

York).) Thus, Plaintiff has not alleged that the Court has jurisdiction over LegitScript under

C.P.L.R. § 302(a)(4).

       Because the Court on this record lacks personal jurisdiction over LegitScript, Plaintiff’s

claims against it must be dismissed. This dismissal is without prejudice. If Plaintiff wishes to




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file a second amended complaint, it must do so within 30 days of the date of this Opinion &

Order.

                                       III. Sherman Act Claim

         When ruling on a Rule 12(b)(6) motion to dismiss, the Court must accept all factual

allegations in the complaint as true and draw all reasonable inferences in the plaintiff’s favor.

Nielsen v. Rabin, 746 F.3d 58, 62 (2d Cir. 2014). The Court, however, is not required to credit

“mere conclusory statements” or “[t]hreadbare recitals of the elements of a cause of action.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007)). “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Id. at 678 (quotation

marks omitted). A claim is facially plausible “when the plaintiff pleads factual content that

allows the [C]ourt to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. Specifically, the plaintiff must allege facts sufficient to show “more

than a sheer possibility that a defendant has acted unlawfully,” id., and if the plaintiff has not

“nudged [his] claims across the line from conceivable to plausible, [the] complaint must be

dismissed,” Twombly, 550 U.S. at 570.

         On a Rule 12(b)(6) motion to dismiss, the question “is not whether a plaintiff will

ultimately prevail but whether the claimant is entitled to offer evidence to support the claims.”

Sikhs for Justice v. Nath, 893 F. Supp. 2d 598, 615 (S.D.N.Y. 2012). Accordingly, the “purpose

of Federal Rule of Civil Procedure 12(b)(6) is to test, in a streamlined fashion, the formal

sufficiency of the plaintiff’s statement of a claim for relief without resolving a contest regarding

its substantive merits.” Halebian v. Berv, 644 F.3d 122, 130 (2d Cir. 2011) (quotation marks

omitted). To decide the motion, the Court “may consider the facts as asserted within the four



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corners of the complaint together with the documents attached to the complaint as exhibits, and

any documents incorporated in the complaint by reference.” Peter F. Gaito Architecture, LLC v.

Simone Dev. Corp., 602 F.3d 57, 64 (2d Cir. 2010) (quotation marks omitted).

       To establish a violation of Sherman Act § 1, Plaintiff must allege “the basic elements of

an underlying antitrust conspiracy, which are: (1) a contract, combination, or conspiracy; (2) in

restraint of trade; (3) affecting interstate commerce.” Gamm v. Sanderson Farms, Inc., 944 F.3d

455, 465 (2d Cir. 2019) (quotation marks omitted).

       The Movants argue, pursuant to Rule 12(b)(6), that Plaintiff fails to allege antitrust

injury, both because Plaintiff facilitates unlawful conduct, (Defs.’ Mem. 16–19), and because the

AC does not allege harm resulting from a competition-reducing aspect of Defendants’ conduct,

(id. at 19–21). Movants separately argue that the AC fails to allege harm to competition. (Id. at

19–21.) Movants also argue that the AC fails to plead the existence of a conspiracy. (Id. at 21–

26.) Additionally, Movants argue that the AC fails to plead plausible product and geographic

markets. (Id. at 26–29.) They further argue that Plaintiff’s claim is barred by the statute of

limitations. (Id. at 30–31.) Finally, while it is not argued as an independent basis for dismissal,

Movants separately argue that the Court should apply the rule of reason rather than the per se

rule in considering Defendants’ alleged conduct. (Id. at 29–30.) The Court denies the Joint

Motion.

       PSM and ASOP argue, pursuant to Rule 12(b)(6), that the AC fails to allege that PSM

and ASOP, respectively, joined the alleged conspiracy, in part because PSM’s and ASOP’s

advocacy statements are immune pursuant to the Noerr-Pennington doctrine. (See generally

PSM’s Mem; ASOP’s Mem.) The Court denies the ASOP Motion, and grants in part and denies

in part the PSM Motion.



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       A. Plaintiff Adequately Alleges Antitrust Injury

       “The fact that private plaintiffs have been injured by acts that violate the antitrust laws is

not enough to confer standing to sue.” Daniel, 428 F.3d at 438. In addition, “plaintiffs must

demonstrate that they themselves have sustained an ‘antitrust injury, which is to say injury of the

type the antitrust laws were intended to prevent and that flows from that which makes

defendants’ acts unlawful.’” Id. (quoting Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S.

477, 489 (1977)). “The antitrust injury requirement ensures that a plaintiff can recover only if

the loss stems from a competition-reducing aspect or effect of the defendant’s behavior.” Atl.

Richfield Co. v. USA Petroleum Co., 495 U.S. 328, 344 (1990) (emphasis in original). This

inquiry requires the Court “to evaluate the plaintiff’s harm, the alleged wrongdoing by the

defendants, and the relationship between them.” Associated Gen. Contractors of Cal., Inc. v.

Cal. State Council of Carpenters, 459 U.S. 519, 535 (1983). Plaintiff must establish antitrust

injury regardless of whether its claim proceeds under the per se rule or the rule of reason. Atl.

Richfield, 495 U.S. at 344 (“The need for this showing is at least as great under the per se rule as

under the rule of reason.”).

               1. Illegality

       Defendants argue that Plaintiff cannot suffer antitrust injury because “its asserted harm

arises out of Defendants’ alleged acts suppressing unlawful drug importation.” (Defs.’ Mem.

16.)10 Defendants point to a handful of cases finding no antitrust standing where the plaintiff’s

business is illegal or enables illegal behavior. (Id. at 16–19.) The earliest of these cases is Maltz

v. Sax, 134 F.2d 2 (7th Cir. 1943). There, the Seventh Circuit considered whether “one engaged




       10
          At the motion to dismiss stage, the Court does not accept this framing of Defendants’
alleged conduct, which Plaintiff alleges is “pretextual.” (AC ¶ 105.)
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in the business of making and selling gambling devices, the use of which is against public policy

and unlawful, may recover damages under the Sherman Anti-Trust Act.” Id. at 4. While the

manufacture and sale of gambling devices was not illegal, their use was illegal. Id. The Seventh

Circuit upheld the district court’s judgment of dismissal of the plaintiff’s complaint on two

grounds. The first was unclean hands. Id. at 5. As Plaintiff correctly notes, (Pl.’s Mem. 11),

unclean hands and other common law barriers to relief no longer apply to claims under the

Sherman Act, see Perma Life Mufflers, Inc. v. Int’l Parts Corp., 392 U.S. 134, 138 (1968),

overruled on other grounds, Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752 (1984). The

second ground was that the plaintiff had “no legal right in a business, the conduct of which was

gambling, for which he may obtain protection.” Maltz, 134 F.2d at 5. Since “[h]e had no legal

rights to protect[,] . . . defendants could not invade them.” Id. Defendants argue that this second

ground suggests dismissal in the instant Action. (Defs.’ Mem. 17–18.)

       Maltz was adjudicated on the pleadings. 134 F.2d at 3. However, among three more

recent opinions that dismissed complaints on grounds similar to Maltz, all three were issued after

discovery. See Bubis v. Blanton, 885 F.2d 317, 320 (6th Cir. 1989) (affirming post-trial

dismissal of Sherman Act claim because the plaintiff did not have a liquor license, and thus had

only an illegal interest in his allegedly-harmed business); Realnetworks, Inc. v. DVD Copy

Control Ass’n, Inc., No. 08-CV-4548, 2010 WL 145098, at *6 (N.D. Cal. Jan. 8, 2010) (finding

no antitrust injury because the plaintiff’s “purported injury stems from its own decision to

manufacture and traffic in a device that is almost certainly illegal”); Modesto Irrigation Dist. v.

Pac. Gas & Elec. Co., 309 F. Supp. 2d 1156, 1170 (N.D. Cal. 2004) (holding that, because the




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plaintiff’s “conduct was unlawful by its own terms, [the defendants’] response . . . could not

inflict a[] cognizable antitrust injury”), aff’d, 158 F. App’x 807 (9th Cir. 2005).11

       Further, at least one court has distinguished Maltz on the basis that, in Maltz, the entire

enterprise was geared towards facilitating illegality, whereas, in these other cases, the complaint

was vague, and a portion of the plaintiff’s business was potentially legitimate. See Linea

Internacional de Credito, S.A. v. W. Union Fin. Servs., Inc., No. 03-CV-6736, 2004 WL

1336302, at *3 (N.D. Ill. June 14, 2004) (“It is not clear from the complaint that plaintiff’s

business is inseparably connected with gambling or that its services could only be used in

furtherance of gambling. Therefore, Maltz does not control.” (footnote omitted)). In Linea

Internacional, there were no allegations of legal business activity; the complaint was simply

vague. See id. (“All that we can tell about [the plaintiff’s] business at this juncture, though, is

that [the defendant] asserted that ‘transactions between [the plaintiff’s] customers and on-line

casinos necessitated the termination of the [c]ontract.’” (record reference omitted)). This opinion

was issued at the motion to dismiss stage. See id. at *1.

       At least one other court has found that a plaintiff may recover antitrust damages for any

period in which it alleged that it was operating legally, notwithstanding other periods of illegal

operations. Monarch Marking Sys., Inc. v. Duncan Parking Meter Maint. Co., No. 82-CV-2599,

1988 WL 23830, at *1 (N.D. Ill. Mar. 8, 1988). In another case, the court ruled that a business

“engaged in wholly illegal enterprises” could not prove antitrust injury, but distinguished an

earlier Ninth Circuit case because the plaintiff there “was a business which engaged in wrongful




       11
           While the opinion in Realnetworks was issued on a motion to dismiss, this came after
“scores of depositions and filed myriad declarations . . . a bench trial involving numerous
exhibits and fact and expert witnesses . . . [and an] order [that] included over nineteen pages of
factual findings.” 2010 WL 145098, at *3.
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or illegal conduct only in part of its sizeable enterprise.” Pearl Music Co. v. Recording Indus.

Ass’n of Am., Inc., 460 F. Supp. 1060, 1068 (C.D. Cal. 1978). The court reached this conclusion

on a motion for summary judgment. Id.

        From these cases, the Court takes the following principle: where the plaintiff’s enterprise

is completely or almost completely illegal, or completely or almost completely geared towards

facilitating illegality, that plaintiff cannot plead an antitrust injury.

        This principle is consistent with the Eighth Circuit’s decision in Canadian Import, a case

that Defendants rely on heavily. There, the plaintiffs, a group of prescription drug consumers,

alleged that the defendant drug companies had engaged in anticompetitive conduct, including

blacklisting Canadian pharmacies suspected of selling drugs to American consumers. In re

Canadian Imp. Antitrust Litig., 470 F.3d 785, 788 (8th Cir. 2006). The Eighth Circuit found that

“the Canadian prescription drugs at issue are not labeled in conformity with federal law, and that

importation of the drugs is therefore prohibited.” Id. at 789. The Eighth Circuit affirmed the

district court’s dismissal of the complaint, holding that

        [t]he absence of competition from Canadian sources in the domestic prescription
        drug market . . . is caused by the federal statutory and regulatory scheme . . . , not
        by the conduct of the defendants. Consequently, the alleged conduct of the
        defendants did not cause an injury of the type that the antitrust laws were designed
        to remedy.

Id. at 791. Since the plaintiffs were allegedly injured because they were prevented from acting

illegally, the Eighth Circuit concluded at the motion to dismiss stage that the plaintiffs could not

allege a valid antitrust injury. Id. at 791.

        The allegations of the AC do not provide a similar basis for the Court to conclude that

Plaintiff’s business is completely or almost completely illegal, or completely or almost

completely geared towards illegality. As mentioned, Plaintiff alleges that its business consists of



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a number of presumably legal activities, including accrediting U.S. online pharmacies, (AC

¶ 40), and providing price comparisons for U.S. online pharmacies, (id. ¶ 43). Plaintiff’s ability

to conduct these legal activities is harmed by Defendants’ alleged conspiracy. While the AC

alleges that accrediting foreign pharmacies distinguishes Plaintiff from its competitors, (id. ¶ 33),

it does not allege that all or almost all of Plaintiff’s business relates to these foreign pharmacies,

(see generally id.), see also Linea Internacional, 2004 WL 1336302, at *3 (denying motion to

dismiss where the complaint was vague regarding the legality of the plaintiff’s business).

       Plaintiff’s admissions at oral argument on Plaintiff’s motion for a preliminary injunction

do not change this analysis. At oral argument, Plaintiff stated that the “primary reason” to

provide foreign pharmacy price information is “likely” to facilitate purchases from foreign

pharmacies. (Dkt. No. 96, at 65–66.) However, this line of questioning was focused only on

Plaintiff’s providing prices from foreign pharmacies to U.S. consumers. (Id. at 65.) It did not

concern the presumably legal aspects of Plaintiff’s business, including accrediting and providing

price comparisons for U.S. online pharmacies.

       Thus, at the motion to dismiss stage, the Court concludes that the AC does not establish

that Plaintiff’s enterprise is completely or almost completely illegal or geared towards illegality,

and denies the Joint Motion insofar as it seeks dismissal on these grounds.12 At summary

judgment, Plaintiff will no longer be sheltered by the vagueness of its AC. If discovery supports

Defendants’ claim that the “primary purpose [of Plaintiff’s business] is to facilitate unlawful




       12
          The Court does not consider Plaintiff’s argument that it has antitrust standing because
the Sherman Act is important, and because equitable defenses like unclean hands and the
doctrine of in pari delicto do not defeat a Sherman Act claim. (Pl.’s Mem. 13–16.) The Court
notes, however, that at least one court has distinguished equitable defenses from a failure to
allege a plausible antitrust injury. Realnetworks, 2010 WL 145098, at *6.
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importation,” (Defs.’ Mem. 1 (quotation marks omitted)), it may advance the same argument at

that juncture.13

                   2. Competition-Reducing Aspect

        Defendants next argue that Plaintiff did not adequately allege harm resulting from “a

competition-reducing aspect or effect of . . . [Defendants’] behavior.” (Defs.’ Mem. 19–21

(quoting Atl. Richfield, 495 U.S. at 344).) Initially, Atlantic Richfield does not require that

Plaintiff allege “[h]arm to [c]ompetition,” (id. at 19), to establish antitrust injury, see Gelboim v.

Bank of Am. Corp., 823 F.3d 759, 775 (2d Cir. 2016) (holding that “proof of harm to competition

is not a prerequisite for recovery”). While the Second Circuit once suggested that “[w]ithout

harm to competition, there can be no antitrust injury and, consequently, no antitrust standing,”

Paycom Billing Servs., Inc. v. Mastercard Int’l, Inc., 467 F.3d 283, 294 (2d Cir. 2006), the

Second Circuit in Gelboim clarified that this “dicta . . . cannot be reconciled with Supreme Court

precedent,” 823 F.3d at 777 n.16. 14 Instead, to establish antitrust injury at this stage, Plaintiff

must allege injury resulting from conduct with “an anticompetitive tendency.” Gelboim, 823

F.3d at 776. “No further showing of actual adverse effect in the marketplace is necessary.” Id.

        Courts have found no antitrust standing where the effect of the defendants’ injury-causing

conduct was not anticompetitive. In Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., the Supreme

Court held that there is no antitrust injury where “the sole injury alleged is that competitors were


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          The Court in this Opinion & Order notes several areas where Defendants may make
similar arguments at the summary judgment stage.

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           As a result, the Court does not follow the courts that prior to Gelboim held that a
plaintiff must allege harm to competition to establish antitrust injury. See, e.g., Mahmud v.
Kaufmann, 607 F. Supp. 2d 541, 554–55 (S.D.N.Y. 2009), aff’d, 358 F. App’x 229 (2d Cir.
2009); Attia v. Dollar Fin. Corp., No. 05-CV-7133, 2007 WL 1746806, at *1 (S.D.N.Y. June 15,
2007); Dresses for Less, Inc. v. CIT Grp./Com. Servs., Inc., No. 01-CV-2669, 2002 WL
31164482, at *9 (S.D.N.Y. Sept. 30, 2002); Yellow Page Sols., 2001 WL 1468168, at *11.
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continued in business, thereby denying [the plaintiff] an anticipated increase in market shares.”

429 U.S. 477, 484 (1977). The Supreme Court concluded that “[i]t is inimical to the purposes of

these laws to award damages for the type of injury claimed here.” Id. at 488. Courts have also

found no antitrust standing where the injury-causing aspect of the defendants’ behavior was not

anticompetitive. For example, in Gatt Communications, Inc. v. PMC Associates, L.L.C., the

plaintiff participated for years in a scheme to rig bids for government contracts. 711 F.3d 68,

72–73 (2d Cir. 2013). The plaintiff was kicked out of the scheme, and alleged that this exclusion

harmed its business. Id. at 73–74. The Second Circuit found no antitrust injury, stating that, to

the extent the bid-rigging scheme was unlawful, this was “only because of the harm [the scheme]

may cause—increased prices—to purchasers of [the bid-riggers’] products,” and the plaintiff’s

lost revenue from being kicked out of the scheme “is not an injury that flows from that which

makes bid-rigging unlawful.” Id. at 77; see also Daniel, 428 F.3d at 440 (holding that “[the]

plaintiffs cannot themselves state an antitrust injury when their purpose is to join the cartel rather

than disband it”); Balaklaw v. Lovell, 14 F.3d 793, 801 (2d Cir. 1994) (finding no antitrust injury,

despite assuming a per se Sherman Act violation, where the plaintiff “failed to win the exclusive

contract to practice anesthesiology”).

       Here, Plaintiff alleges that it “has now effectively been excluded from the market,” (AC

2), and that this has caused harm to its business, (id. ¶¶ 108–14). Unlike in Brunswick, the AC

does not allege that Defendants’ conduct increases market competition. (See generally id.) And

unlike in Gatt, the AC does not allege an injury based on Plaintiff’s exclusion from a conspiracy

or cartel. (Id.) Other courts have found antitrust standing when faced with similar claims. See,

e.g., Ostrofe v. H.S. Crocker Co., 740 F.2d 739, 742–43 (9th Cir. 1984) (“[The plaintiff’s]

alleged injury was caused by the boycott, it was intentionally inflicted, and it was direct. [The



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plaintiff’s] injury flowed from a violation of antitrust policy, since it resulted from the

elimination of competition in the market . . . and would be ameliorated by the restoration of

competition in that market.”); Midland Telecasting Co. v. Midessa Television Co., 617 F.2d

1141, 1145 (5th Cir. 1980) (“It is clear that in the present case the injury alleged flows directly

from defendants’ group boycott or refusal to deal.”); HM Compounding Servs., Inc. v. Express

Scripts, Inc., No. 14-CV-1858, 2015 WL 4162762, at *10 (E.D. Mo. July 9, 2015) (“[F]or

purposes of a motion to dismiss, [the plaintiff] has sufficiently pled an antitrust injury by

asserting that [the defendant] excluded it as a competitor from the marketplace.”).

       Thus, the Court concludes that the AC sufficiently alleges that its injury results from a

competition-reducing aspect or effect of Defendants’ behavior, and denies the Joint Motion

insofar as it seeks dismissal on these grounds.

       B. Plaintiff Adequately Alleges a Conspiracy Including NABP, CSIP, PSM, and ASOP

       To establish a Sherman Act § 1 violation, Plaintiff must allege a “conspiracy[] in restraint

of trade or commerce.” 15 U.S.C. § 1. A group boycott is one such conspiracy in restraint of

trade or commerce. St. Paul Fire & Marine Ins. Co. v. Barry, 438 U.S. 531, 541 (1978). Under

the Sherman Act, “[i]ndependent action is not proscribed.” Monsanto Co. v. Spray-Rite Serv.

Corp., 465 U.S. 752, 761 (1984). As a result, in order to prove a conspiracy, “the antitrust

plaintiff should present direct or circumstantial evidence that reasonably tends to prove that the

defendant and others had a conscious commitment to a common scheme designed to achieve an

unlawful objective.” Anderson News, L.L.C. v. Am. Media, Inc., 680 F.3d 162, 183–84 (2d Cir.

2012) (alterations omitted) (citing Monsanto, 465 U.S. at 764). In the criminal context, the

Second Circuit has noted that “a conspiracy by its very nature is a secretive operation.” United

States v. Snow, 462 F.3d 55, 68 (2d Cir. 2006). Since the same is true in the Sherman Act



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context, most complaints will allege conspiracy circumstantially. See Rossi v. Standard Roofing,

Inc., 156 F.3d 452, 465 (3d Cir. 1998) (“[P]laintiffs have been permitted to rely solely on

circumstantial evidence (and the reasonable inferences that may be drawn therefrom) to prove a

conspiracy.”). Twombly applies, so the allegations of conspiracy must be plausible. 550 U.S. at

570. However, the Supreme Court has noted that “[a]sking for plausible grounds to infer an

agreement does not impose a probability requirement at the pleading stage; it simply calls for

enough fact to raise a reasonable expectation that discovery will reveal evidence of illegal

agreement.” Id. at 556. The Second Circuit has similarly stated that, at the pleading stage, “the

plaintiff need not show that its allegations suggesting an agreement are more likely than not true

or that they rule out the possibility of independent action, as would be required at later litigation

stages such as a defense motion for summary judgment.” Anderson News, 680 F.3d at 184.

               1. Existence

       Plaintiff argues that the AC alleges direct and circumstantial evidence of a conspiracy.

(Pl.’s Mem. 21–30.) The Court finds that the AC does not allege direct evidence of a conspiracy,

but does allege circumstantial evidence of a conspiracy.

       Direct evidence of a conspiracy “is explicit and requires no inferences to establish the

proposition or conclusion being asserted.” InterVest, Inc. v. Bloomberg, L.P., 340 F.3d 144, 159

(3d Cir. 2003). The Second Circuit has suggested that, to allege direct evidence, the plaintiff’s

injury must arise directly from the activity over which there is direct evidence of collaboration.

See N. Am. Soccer League, LLC v. U.S. Soccer Fed’n, Inc., 883 F.3d 32, 41 (2d Cir. 2018)

(finding that the plaintiff did not allege a direct injury because its alleged harm arose from a

broad conspiracy to restrain competition, not from standards promulgated by a professional

association). Here, Plaintiff argues that the alleged 2011 and 2012 meetings involving NABP,



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CSIP, and ASOP suggest direct evidence of conspiracy. (Pl.’s Mem. 26.) The Court disagrees,

because there are no allegations that Plaintiff was discussed at these meetings. (See AC ¶¶ 71–

73.) Thus, as alleged, the meetings are not direct evidence of the alleged group boycott, though

the Court considers them as potential circumstantial evidence.

        To plausibly allege a conspiracy through circumstantial evidence, Plaintiff may allege,

first, parallel action and, second, the parallel action “must be placed in a context that raises a

suggestion of a preceding agreement, not merely parallel conduct that could just as well be

independent action.” Twombly, 550 U.S. at 557. “[A]n allegation of parallel conduct and a bare

assertion of conspiracy will not suffice.” Id. at 556. The Court considers these two factors in

turn.

                       a. Parallel Action

        The Supreme Court has provided some examples of parallel action, including “parallel

behavior that would probably not result from chance, coincidence, independent responses to

common stimuli, or mere interdependence unaided by an advance understanding among the

parties” and “conduct that indicates the sort of restricted freedom of action and sense of

obligation that one generally associates with agreement.” Id. at 556 n.4 (alteration omitted). In

Starr v. Sony BMG Music Entertainment, the Second Circuit held that the plaintiff sufficiently

alleged parallel action. 592 F.3d 314 (2d Cir. 2010). It found that the following were “non-

conclusory factual allegations of parallel conduct”: (1) the defendants’ agreement to launch two

new services that charged unreasonably high prices, and (2) the defendants’ refusal to do

business with one of their competitors that offered a lower price. Id. at 323.

        Here, the Court finds that the AC adequately alleges parallel action because its claims

resemble those in Starr. First, Defendants jointly launched a new internet domain. Specifically,



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the AC alleges that NABP, ASOP, and CSIP coordinated to develop the “.pharmacy” domain to

play “a gatekeeping function.” (AC ¶¶ 80, 96.) Second, Defendants also caused a refusal to do

business with Plaintiff. The AC alleges that NABP added Plaintiff to its Not Recommended

Sites list in December 2018, (id. ¶ 87), and that CSIP in June and July of 2019 ran targeted ads

against Plaintiff and its member Bing, consistent with CSIP’s Principles of Participation, labeled

Plaintiff as risky in search results, based on NABP’s Not Recommended Sites list, (id. ¶¶ 92–

95).15 While these refusals to do business did not occur precisely at the same time, “the Supreme

Court has long held that simultaneous action is a not a requirement to demonstrate parallel

conduct.” In re Broiler Chicken Antitrust Litig., 290 F. Supp. 3d 772, 791 (N.D. Ill. 2017)

(citing Interstate Circuit v. United States, 306 U.S. 208, 227 (1939)) (finding parallel conduct

where the plaintiffs alleged “two periods of production cuts of approximately one-two years

each”); see also Kleen Prod., LLC v. Packaging Corp. of Am., 775 F. Supp. 2d 1071, 1077 (N.D.

Ill. 2011) (holding that the plaintiff alleged a conspiracy even though capacity reductions

occurred over a five-year period); In re Plasma-Derivative Protein Therapies Antitrust Litig.,

764 F. Supp. 2d 991, 1000 (N.D. Ill. 2011) (holding that “interdependence can be inferred from

parallel conduct that is sequential rather than simultaneous” where parallel actions occurred over

a two-year period). But see In re Late Fee & Over-Limit Fee Litig., 528 F. Supp. 2d 953, 962

(N.D. Cal. 2007) (“[T]ime lags of three to six months between pricing moves ‘refute rather than




       15
          Defendants argue that it is implausible that Defendants “somehow strong-armed these
large, multi-national corporations[, such as Google, Microsoft/Bing, Facebook, Mastercard,
PayPal, and UPS,] to boycott Plaintiff via CSIP’s Principles of Participation.” (Defs.’ Mem. 2.)
However, voluntary principles can plausibly influence the behavior of participating
organizations. See, e.g., Elise Groulx Diggs et al., Business and Human Rights As A Galaxy of
Norms, 50 Geo. J. Int’l L. 309, 333 (2019) (“[V]oluntary standards adopted by major companies
may constitute a private enforcement scheme when they are incorporated into contractual
requirements.”).
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support’ allegations of conspiracy[.]” (citing In re Baby Food Antitrust Litig., 166 F.3d 112,

131–32 (3d Cir.1999)), aff’d, 741 F.3d 1022 (9th Cir. 2014).

                       b. Context Suggesting Agreement

        Allegations of context suggesting agreement, which the Second Circuit refers to as “plus

factors,” may include: “a common motive to conspire, evidence that shows that the parallel acts

were against the apparent individual economic self-interest of the alleged conspirators, and

evidence of a high level of interfirm communications.” Mayor of Balt. v. Citigroup, Inc., 709

F.3d 129, 136 (2d Cir. 2013).16 The Court considers each of these three potential plus factors in

turn.

        With regard to common motive, the Court finds that this is not a strong plus factor

suggesting agreement. The AC alleges that LegitScript and NABP are direct competitors of

Plaintiff. (AC ¶ 28.) The AC does not make clear allegations about the motives of CSIP, PSM,

or ASOP. (See generally id.) However, it does allege that PSM and ASOP either represent or

have deep ties with PhRMA, (id. ¶¶ 7, 10), and that pharmaceutical companies wish to retain a

captive market by preventing lower-price imports from international online pharmacies, (id.

¶ 22). Thus, while some Defendants allegedly share some motives, similar motivation overall is

not a strong plus factor in making plausible Plaintiff’s alleged conspiracy.

        Defendants’ supposed concession of a similar motive does not change the Court’s

finding. Defendants state that they have “similar interests and goals[:] promoting public health

and the safety of the drug supply.” (Defs.’ Mem. 25–26.) Plaintiff argues that, by making this




        16
          The Third Circuit has warned that “the first two plus factors may indicate that
defendants operate in an oligopolistic market, that is, . . . market behavior is interdependent and
characterized by conscious parallelism.” Burtch v. Milberg Factors, Inc., 662 F.3d 212, 227 (3d
Cir. 2011).
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statement, “[D]efendants concede that they have ‘similar interests and goals,’ which confirms a

common motive to conspire.” (Pl.’s Mem. 28.) This argument contradicts the AC, which states

that Defendants’ safety motives are pretextual. (AC ¶ 105.) Thus, since it’s not supported by the

allegations in the AC, the Court does not consider this argument.

       With regard to actions contrary to self-interest, the Court similarly finds that it is not a

strong plus factor suggesting agreement. “An action that is contrary to a firm’s apparent

economic self-interest is one that is implausible if undertaken alone, without the guarantee of

cooperation by competitors.” SourceOne Dental, Inc. v. Patterson Companies, Inc., 310 F.

Supp. 3d 346, 360 (E.D.N.Y. 2018). Plaintiff alleges that NABP approached search engines to

persuade them to end their contracts with PharmacyChecker.com in favor of either NABP or

LegitScript, (AC ¶ 78), and that NABP requested that the International Corporation for Assigned

Names and Numbers (“ICANN”) take down any pharmacy domain not approved by NABP or

LegitScript, (id. ¶ 81). In both cases, NABP acted in a way that appears designed to benefit

LegitScript, “its direct competitor.” (Id. ¶ 81.) However, two considerations weigh against this

being considered a major “plus factor.” First, this action contrary to self-interest is unrelated to

Defendants’ alleged parallel actions. See Mayor of Balt., 709 F.3d at 136 (listing as a plus factor

“evidence that shows the parallel acts were against the apparent individual economic self-

interest of the alleged conspirators” (emphasis added)). Second, the acts contrary to self-interest

were done by just one Defendant, and not in coordination with competitors. See SourceOne

Dental, 310 F. Supp. 3d at 360 (“An action that is contrary to a firm’s apparent economic self-

interest is one that is implausible if undertaken alone, without the guarantee of cooperation by

competitors.”)




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       With regard to a high level of interfirm communications, the Court finds that this is a plus

factor suggesting agreement. Initially, membership in common trade associations and common

attendance of trade shows indicates an opportunity to conspire, but it is not enough, standing

alone, to provide the “plus factors” needed to allege a conspiracy. See Capital Imaging Assocs.,

996 F.2d at 545 (“The mere opportunity to conspire does not by itself support the inference that

such an illegal combination actually occurred.”). The Second Circuit rejected the notion that a

trade association forms a “walking conspiracy,” instead requiring more particularized allegations

about the role of individual members. AD/SAT, Div. of Skylight, Inc. v. Associated Press, 181

F.3d 216, 234–35 (2d Cir. 1999) (“[The Second Circuit] require[s] a factual showing that each

defendant conspired in violation of the antitrust laws, and have not adopted a ‘walking

conspiracy’ theory in place of such a showing.”); see also Wilk v. Am. Med. Ass’n, 895 F.2d 352,

374 (7th Cir. 1990) (“[A] trade association is not, just because it involves collective action by

competitors, a ‘walking conspiracy.’”); Newton v. Am. Debt Servs., Inc., No. 11-CV-3228, 2013

WL 5592620, at *9 (N.D. Cal. Oct. 10, 2013) (“A mere association . . . does not make a

conspiracy.”). Similarly, interlocking directorships “may indicate an opportunity to conspire, but

affiliation does not by itself necessarily imply conspiracy to restrain trade.” Jicarilla Apache

Tribe v. Supron Energy Corp., 728 F.2d 1555, 1561 (10th Cir. 1984); see also Harlem River

Consumers Co-op v. Associated Grocers of Harlem, Inc., No. 70-CV-4128, 1976 WL 1238, at

*17 (S.D.N.Y. Mar. 5, 1976) (holding that “common membership . . . [and] interlocking

directorates . . . [are] not sufficient to prove [a] conspiracy”). And allegations of overlapping

board membership likewise indicate only an opportunity to conspire, including when the overt

conspiratorial acts are bilateral. In re High-Tech Emp. Antitrust Litig., 856 F. Supp. 2d 1103,

1119 (N.D. Cal. 2012) (“[I]t is plausible to infer that the overlapping board membership here



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provided an opportunity to conspire and an opportunity for transfer of the requisite knowledge

and intent regarding the bilateral agreements.”).

       Alleged meetings are a sufficient plus factor only where they occur shortly before the

alleged parallel action. Vague reference to isolated discussions is not enough. Mayor of Balt.,

709 F.3d at 136 (“[T]wo vague references to isolated discussions among only three defendants . .

. are not enough plausibly to allege a ‘high level’ of interfirm communications.”). Allegations of

specific meetings that were timed shortly before the alleged parallel conduct can establish

circumstantial evidence of conspiracy. Anderson News, 680 F.3d at 188. The same principle

applies to trade association meetings, when they occur shortly before the alleged collusive

conduct. Miami Prod. & Chem. Co. v. Olin Corp., 449 F. Supp. 3d 136, 164 (W.D.N.Y. 2020).

One court has held that a single meeting held 9 to 12 months before the alleged conspiratorial

acts “do[es] not raise suspicions, and therefore do[es] not provide factual context suggesting

agreement.” Tichy v. Hyatt Hotels Corp., 376 F. Supp. 3d 821, 840–41 (N.D. Ill. 2019)

(quotation marks omitted).

       Here, Plaintiff makes two categories of allegations. First, it alleges interlocking

membership and frequent joint meeting attendance. For example, a 2010 ASOP press release

related to its campaign on safe online pharmacies states that NABP and PSM are observers, and

that NABP “supports the ASOP mission, participates in meetings, and offers information.” (AC

¶ 70; Dkt. No. 99-2; see also AC ¶¶ 7 (alleging that an ASOP board member is a NABP

employee, and NABP and ASOP share a lobbyist), 8 (alleging that ASOP is an original and ex-

officio member of CSIP), 10 (alleging that PSM is an observer of ASOP and has funded research

of at least one of ASOP’s advisers), 67(a) (alleging that NABP and PSM are observers of ASOP

and regularly participate in ASOP’s meetings and initiatives).) While these allegations create an



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opportunity to conspire, standing alone they are not a sufficient “plus factor” to plausibly allege a

conspiracy.

       Second, Plaintiff alleges a handful of meetings and other communications suggesting that

Defendants coordinated their plans to restrain online pharmacies. In a 2010 email, an Eli Lilly

employee stated that “ASOP is the manner in which Lilly (and PhRMA as an observer) is

working with other key stakeholders to . . . collaborate to address the problem of online drug

sellers . . . .” (AC ¶ 69.) These stakeholders include NABP and PSM. (Id.) In a 2011 meeting,

NABP and CSIP “discussed cutting off websites that promote online international pharmacy sales

from key internet resources through the gatekeepers that compose CSIP.” (Id. ¶ 71.) At a 2012

NABP meeting, (id. ¶¶ 72–73), an ASOP representative gave a presentation about “rogue

[i]nternet drug outlets,” (Dkt. No. 107-5 at 3), and NABP adopted as a recommendation that it

should “[c]ontinue [i]nterfacing with [CSIP] and [e]ncourage CSIP to [s]upport [i]nternet

[e]nvironments [t]hat [d]o [b]usiness [o]nly with [l]egitimate [o]nline [p]harmacy [w]eb

[s]ites,” (id. at 4). These quotes are drawn from the meeting notes, which are quoted in the AC.

(Id. ¶ 73.) These allegations are sufficient circumstantial evidence of a conspiracy, as they speak

directly to Defendants’ intent to restrict online pharmacies.

       A final plus factor is relevant: Defendants’ joint press releases. Public statements are not

among the plus factors identified in Mayor of Baltimore and Twombly. However, this list

appears to be illustrative, not exhaustive. Mayor of Balt., 709 F.3d at 136 (stating that “‘plus

factors’ may include . . .” (emphasis added)). “[P]ublic statements are often considered relevant

in determining whether a conspiracy was adequately alleged. . . . [T]hese statements are nearly

always analyzed as ‘plus factors.’” In re Pork Antitrust Litig., No. 18-CV-1776, 2019 WL

3752497, at *8–9 (D. Minn. Aug. 8, 2019) (citations omitted). For example, public statements


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by individual businesses calling for production cuts may be plus factors because they allow the

industry to coordinate changes that are otherwise contrary to each business’s unilateral self-

interest. Broiler Chicken, 290 F. Supp. 3d at 798. The AC alleges a wide variety of Defendant

press releases from 2015 through 2018—including similarly-timed press releases on the same

issue—that promoted another Defendant’s work on online pharmacies and/or disparaged

Plaintiff. (AC ¶¶ 77, 85.) These press releases suggest that Defendants’ intent did not change in

the years between the meetings in 2010 through 2012 and the decision to add Plaintiff to the Not

Recommended Sites list. Taken together, these allegations provide sufficient context to

plausibly suggest agreement.

       The fact that no single meeting or press release is alleged to have included all Defendants

does not change the Court’s conclusion. (See Defs.’ Mem. 24–25.) Allegations of multiple

bilateral meetings, each involving (a) one specific defendant, and (b) each other defendant,

individually, are insufficient to allege an overall conspiracy. See In re Actos End Payor Antitrust

Litig., No. 13-CV-9244, 2015 WL 5610752, at *26 (S.D.N.Y. Sept. 22, 2015) (“[R]ather than

describing advance planning and coordinated action by the [d]efendants, [the complaint] details

the bilateral agreements between [a particular defendant] and each of the other [d]efendants that

reflected their respective entry rights in each market under the statutory scheme.”), aff’d in part,

vacated in part, 848 F.3d 89 (2d Cir. 2017). However, an alleged series of identical bilateral

agreements between a variety of different pairs of defendants, with multiple overlaps, is

sufficient to allege a conspiracy. In re High-Tech Emp. Antitrust Litig., 856 F. Supp. 2d at 1119–

20 (“The fact that all six identical bilateral agreements were reached in secrecy among seven

Defendants in a span of two years suggests that these agreements resulted from collusion, and

not from coincidence.”).



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               2. Noerr-Pennington Doctrine

       PSM and ASOP argue that some of their statements are immune from antitrust liability

under the Noerr-Pennington doctrine. (PSM’s Mem. 6–10; ASOP’s Mem. 14–15.) “Those who

petition government for redress are generally immune from antitrust liability,” unless petitioning

activity, “ostensibly directed toward influencing governmental action, is a mere sham to cover an

attempt to interfere directly with the business relationships of a competitor.” Prof’l Real Estate

Inv’rs, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 56 (1993) (alteration omitted).

Several courts in the Second Circuit have dismissed antitrust lawsuits on the pleadings based on

Noerr-Pennington. See, e.g., Bath Petroleum Storage, Inc. v. Mkt. Hub Partners, L.P., 129 F.

Supp. 2d 578, 594 (W.D.N.Y. Feb. 25, 2000) (citing Music Ctr. S.N.C. Di Luciano Pisoni & C.

v. Prestini Musical Instruments Corp., 874 F. Supp. 543, 549 (E.D.N.Y. 1995)), aff’d, 229 F.3d

1135 (2d Cir. 2000); Weiss v. Willow Tree Civic Ass’n, 467 F. Supp. 803, 818 (S.D.N.Y. 1979).

       This rule is subject to two restrictions. First, not all advocacy is protected. Advocacy

that is “engaged in private commercial activity, no element of which involve[s] seeking to

procure the passage or enforcement of laws” is not immune. Litton Sys., Inc. v. Am. Tel. and Tel.

Co., 700 F.2d 785, 807 (2d Cir. 1983); see also United States v. Philip Morris Inc., 304 F. Supp.

2d 60, 73 (D.D.C. 2004) (“[I]t certainly does not follow that all use of advertisements or public

relations campaigns is to be automatically characterized as petitioning of the government, and

therefore immunized under the Noerr-Pennington doctrine.”). Distinguishing protected

advocacy from commercial advertisement in many cases requires a factual determination. See E.

R.R. Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127, 142–43 (1961) (holding, based

on “evidence in the record,” that newspaper articles sought to influence the passage and

enforcement of laws); see also Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S. 492,



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499 (1988) (noting that the “context and nature of the activity” are important to identify when a

private action is “‘incidental’ to a valid effort to influence government action,” and, thus,

immune). At the pleadings stage, all inferences are drawn in favor of Plaintiff, so if an

advertisement can be construed as unrelated to petitioning the government, it is. Of course,

conclusions drawn on the pleadings may not necessarily hold at a motion for summary judgment.

       Second, immune statements may be admitted “to show the purpose and character of the

particular transactions under scrutiny.” United Mine Workers of Am. v. Pennington, 381 U.S.

657, 670 n.3 (1965); In re: Gen. Motors LLC Ignition Switch Litig., No. 14-MD-2543, 2015 WL

8130449, at *2 (S.D.N.Y. Dec. 3, 2015) (“Under the Noerr-Pennington doctrine, a defendant

may not be held liable based solely on conduct that is protected by the First Amendment, but that

does not mean that such conduct is altogether inadmissible or necessarily lacking in evidentiary

value.”); Hamilton v. Accu-tek, 935 F. Supp. 1307, 1321 (E.D.N.Y. 1996) (“A core principle of

the Noerr-Pennington doctrine is that lobbying alone cannot form the basis of liability, although

such activity may have some evidentiary value.”).

       The Court considers arguments by PSM and ASOP in turn.

                       a. PSM

       PSM argues that its alleged public statements are immune under Noerr-Pennington.

(PSM’s Mem. 6–10; see also AC ¶¶ 69, 77, 85(e), 85(f).) As a general matter, Plaintiff alleges a

transition from government-focused efforts to “misinformation campaigns to scare consumers”

and “private agreements with internet gatekeepers to unlawfully deprive consumers access to,

and information about, safe online pharmacies.” (AC ¶ 59.) To draw all inferences in Plaintiff’s

favor, PSM’s statements must be construed in light of this alleged shift in strategy. All of the

following are plausibly alleged to be focused on the alleged private misinformation campaign,



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and thus unrelated to petitioning the government: (1) the February 9, 2018 article citing NABP’s

conclusion that fake online pharmacies sell fentanyl, (id. ¶ 77; Dkt. No. 99-4), (2) the October

18, 2017 article announcing the winners of an ASOP award, (AC ¶ 77; Dkt. No. 99-5), (3) the

August 25, 2017 article citing NABP’s finding that only 4.2% of online pharmacies are safe, (AC

¶ 77; Dkt. No. 99-6), and (4) the 2018 article stating in part that PharmacyChecker.com’s

verifications cannot be trusted, (AC ¶ 85(f); Dkt. No. 99-7). Each of these articles mentions

some component of federal law. (See Dkt. No. 99-4 (NABP study of pharmacy websites

considers “if they comply with U.S. [f]ederal law”); Dkt. No. 99-5 (praising the work of

Congressmen Michael C. Burgess and Eugene Green); Dkt. No. 99-6 (reporting NABP’s

“concern about pending drug importation legislation”); Dkt. No. 99-7 (the “.pharmacy” domain

signals that websites “are properly licensed and follow applicable U.S. state and federal laws”).)

However, none of these references appears to seek to influence government policy, and all can

be viewed as directed at a private audience, “to give the appearance of independent authenticity

and authority.” (AC ¶ 77.)

       PSM’s 2017 advertising campaign is different. (Id. ¶ 85(e); Dkt. No. 99-3.) This article

states “Urge the Senate to Reject Drug Importation Measures.” (Dkt. No. 99-3.) Even drawing

all inferences in Plaintiff’s favor, this publicity campaign is aimed at influencing governmental

action. (Id.) See Noerr, 365 U.S. at 142–43. Thus, PSM is immune from antitrust liability

based on this statement.

       PSM argues that all of its publications were “published in furtherance of PSM’s advocacy

efforts to enforce laws against illegal drug importation.” (PSM’s Mem. 9.) While this may be

true, the Court cannot draw this inference against Plaintiff at this stage. Pending discovery, PSM

may advance the same argument on a motion for summary judgment.



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       PSM argues that Noerr-Pennington shields the 2010 letter from an Eli Lilly employee to

an Obama administration official, which lists PSM as a stakeholder. (PSM’s Mem. 9; see also

AC ¶ 69; Dkt. No. 99-1.) Even drawing all inferences in Plaintiff’s favor, this email petitions the

government, and cannot be a basis of liability. However, it may serve as evidence of the

conspiracy; considering the email to evaluate the “purpose and character” of Defendants’ actions

is consistent with Pennington. See 381 U.S. at 670 n.3. Further, this holding is not inconsistent

with the Seventh Circuit’s refusal to “aggregate the effects of conduct immunized from antitrust

liability with the effects of conduct not so immunized.” Mercatus Grp., LLC v. Lake Forest

Hosp., 641 F.3d 834, 839 (7th Cir. 2011). Mercatus immunized the defendants from a finding of

liability based on their lobbying efforts; it did not concern whether the content of their lobbying

may be introduced as evidence to support the plaintiff’s allegations of conspiracy. 641 F.3d at

857.

       PSM finally argues that Noerr-Pennington shields ASOP’s 2010 press release, which lists

PSM as a stakeholder and states that ASOP is “working to bring about policy changes.” (AC

¶ 70; Dkt. No. 99-2.) Again, even drawing all inferences in Plaintiff’s favor, this press release

promotes ASOP’s government lobbying efforts. Thus, ASOP is immune from antitrust liability

based on this statement. However, as with the 2010 email, the Court considers the 2010 press

release as indicating the “purpose and character” of Defendants’ actions. Pennington, 381 U.S.

at 670 n.3.

       Thus, the PSM Motion is granted insofar as it seeks immunity from liability based on (1)

PSM’s 2017 advertising campaign, (AC ¶ 85(e)), (2) the 2010 letter from an Eli Lilly employee

to an Obama administration official, (id. ¶ 69), and (3) ASOP’s 2010 press release, (id. ¶ 70).

While they may not be a basis of liability, the Court notes that these statements may be



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considered as evidence of a conspiracy. The PSM Motion is denied insofar as it seeks immunity

for liability based on its other statements under the Noerr-Pennington doctrine.

                       b. ASOP

       ASOP argues that some of its alleged actions should be shielded by Noerr-Pennington.

(ASOP’s Mem. 14–15.) First, it claims that it should be immune from allegations related to its

executive Libby Baney (“Baney”) because she is a lobbyist. (ASOP’s Mem. 14; AC ¶¶ 7,

85(h).) Drawing all inferences in Plaintiff’s favor, the fact that Baney is a lobbyist does not

mean that all of her work is related to petitioning the government, particularly in light of

Defendants’ alleged pivot from government-focused to private-focused advocacy. (See AC

¶ 59.) Second, ASOP claims that its members use it to address online pharmacies “through

successful lobbying.” (ASOP’s Mem. 14; AC ¶ 24.) Again drawing all inferences in Plaintiff’s

favor, the Court cannot construe all of ASOP’s activities as geared towards protected lobbying in

light of Defendants’ alleged pivot from government to private advocacy. (See AC ¶ 59.)

Pending discovery, ASOP may advance the same argument on a motion for summary judgment.

       Thus, the ASOP Motion is denied insofar as it seeks immunity from liability based on the

Noerr-Pennington doctrine.

               3. Participation of Individual Defendants

       For each Defendant that allegedly participated in the conspiracy, Plaintiff must allege

facts that plausibly suggest that it “joined the conspiracy and played some role in it.” Precision

Assocs., Inc. v. Panalpina World Transp. (Holding) Ltd., No. 08-CV-42, 2011 WL 7053807, at

*14 (E.D.N.Y. Jan. 4, 2011), report and recommendation adopted, 2012 WL 3307486 (E.D.N.Y.

Aug. 13, 2012); see also In re TFT-LCD (Flat Panel) Antitrust Litig., 586 F. Supp. 2d 1109,

1117 (N.D. Cal. 2008) (same); In re Elec. Carbon Prod. Antitrust Litig., 333 F. Supp. 2d 303,



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311–12 (D.N.J. 2004) (same); Jung v. Ass’n of Am. Med. Colleges, 300 F. Supp. 2d 119, 164

(D.D.C. 2004) (same). While NABP and CSIP are alleged to be the entities primarily

responsible for “blacklisting” Plaintiff, this does not mean that ASOP and PSM played no role in

the conspiracy. “[T]hat [each defendant] might have had different motivations for joining the

conspiracy, and was involved in only a portion of it, does not undermine the existence of the

conspiracy itself or [each defendant’s] role . . . .” In re Elec. Books Antitrust Litig., 859 F. Supp.

2d 671, 690 (S.D.N.Y. 2012). “[E]ach conspirator need not have played a symmetric role to be

part of a broader plot.” In re Interest Rate Swaps Antitrust Litig., 351 F. Supp. 3d 698, 706

(S.D.N.Y. 2018) (“Conspiracies, particularly when alleged among a large group, are not always

tidy and symmetric. Conspirators may aid the common venture via techniques and stratagems

that are consistent and reinforcing but not entirely overlapping.”).

       In particular, the Second Circuit has held that misleading advertising may give rise to an

antitrust claim. Under § 2 of the Sherman Act, “a plaintiff asserting a monopolization claim

based on misleading advertising must overcome a presumption that the effect on competition of

such a practice was de minimis.” Nat’l Ass’n of Pharm. Mfrs., Inc. v. Ayerst Labs., 850 F.2d

904, 916 (2d Cir. 1988). This presumption can be overcome “by cumulative proof that the

representations were [1] clearly false, [2] clearly material, [3] clearly likely to induce reasonable

reliance, [4] made to buyers without knowledge of the subject matter, [5] continued for

prolonged periods, and [6] not readily susceptible of neutralization or other offset by rivals.”

Ayerst, 850 F.2d at 916.

       The Second Circuit in Ayerst found that, at the motion to dismiss stage, an
       allegation that the representation was ‘false and misleading in certain respects’ was
       sufficient ‘to go forward with the discovery process to substantiate its claim that
       the representation was clearly false, clearly material, and clearly likely to induce
       reasonable reliance.’



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In re Keurig Green Mountain Single-Serve Coffee Antitrust Litig., 383 F. Supp. 3d 187, 240

(S.D.N.Y. 2019) (alteration omitted) (citing Ayerst, 850 F. 2d at 916), reconsideration denied,

No. 14-MD-2542, 2019 WL 2603187 (S.D.N.Y. June 25, 2019). While Ayerst involved a § 2

claim, the Second Circuit has relied upon principles articulated regarding § 2 in evaluating a

claim under § 1. See MacDermid Printing Sols. LLC v. Cortron Corp., 833 F.3d 172, 187 n.63

(2d Cir. 2016).17

       With these principles in mind, the Court considers ASOP’s, (ASOP’s Mem. 7–19), and

PSM’s, (PSM’s Mem. 10–14), arguments that the Complaint does not allege facts to plausibly

suggest that they participated in the conspiracy.

                       a. ASOP

       Together, three sets of Plaintiff’s allegations suffice to establish that ASOP joined the

alleged conspiracy. First, and most significantly, Plaintiff alleges statements indicating ASOP’s

intent to collaborate with its alleged co-conspirators to restrict online pharmacies. A 2010 email

from an Eli Lilly employee states that “ASOP is . . . working with other key stakeholders to . . .

collaborate to address the problem of online drug sellers.” (AC ¶ 69.) The email identifies

NABP and PSM as stakeholders. (Id.) In addition, ASOP’s representative gave a 2012

presentation at an NABP meeting regarding “rogue [i]nternet drug outlets, as well as the critical

points of the [i]nternet ecosystem, and how they can be utilized to curtail the rogue sites from

conducting business over the [i]nternet.” (Dkt. No. 107-5 at 3; see also AC ¶¶ 72–73.) These



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           Fifth Circuit case law is not the contrary. See Schachar v. Am. Acad. of
Ophthalmology, Inc., 870 F.2d 397, 399 (7th Cir. 1989) (“[W]hen a trade association provides
information . . . but does not constrain others to follow its recommendations, it does not violate
the antitrust laws.”). The court in Schachar referred to “truthful comparisons made in the
competition between products,” and concluded that “courts recognize that false and misleading
statements may provide a basis for antitrust claims.” Alt. Electrodes, LLC v. Empi, Inc., 597 F.
Supp. 2d 322, 331–32 (E.D.N.Y. 2009) (quoting Ayerst, 850 F.2d at 916).
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statements suggest both a common motive and a high degree of communication. See Mayor of

Balt., 709 F.3d at 136.

       Second, Plaintiff alleges that ASOP participated in joint advocacy work related to the

alleged “misinformation campaigns.” (AC ¶ 85.) “ASOP . . . issued a false and misleading paid

news release on August 18, 2015, wrongly linking PharmacyChecker . . . to an indictment related

to illegal wholesale drug importation.” (Id. ¶ 85(a).) In 2014 and 2015, ASOP jointly launched

a billboard in New York with CSIP, (id. ¶ 2), and collaborated with CSIP “to fund, support, and

carry out misinformation advertising campaigns,” (id. ¶ 74). Plaintiff also alleges regular joint

appearances involving Baney from ASOP and Dr. Catizone from NABP “to promote content

published as part of these misinformation campaigns.” (Id. ¶ 85(h).) This advocacy suggests

that ASOP’s intent did not change in the intervening years since these meetings, which makes

the alleged conspiracy more plausible notwithstanding the long time between the 2010 and 2012

statements and the alleged conspiratorial acts. See Tichy, 376 F. Supp. 3d at 841.

       Third, Plaintiff alleges routine communications and overlapping membership with other

alleged members of the conspiracy, which provides opportunity for coordination. Alleged co-

conspirators NABP and PSM are “observers of ASOP and regularly participate in ASOP

meetings and initiatives.” (AC ¶ 67(a).) Baney, from ASOP, is a registered lobbyist for NABP.

(Id. ¶ 7.) Marty Allain, the chair of the board of directors of the ASOP Global Foundation, is the

senior manager for the pharmacy Verified Websites Program at NABP. (Id.) While these

allegations could not independently establish a conspiracy, they make Plaintiff’s claim more

plausible by showing an opportunity to conspire. See Capital Imaging Assocs., 996 F.2d at 545.

       In addition, ASOP played a role in the alleged conspiracy, because it made allegedly false

statements about Plaintiff. ASOP published a “FAQ” webpage “repeating various scare tactics



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and false claims about the safety of online pharmacies” and including “an entire section

dedicated to disparaging PharmacyChecker.com.” (AC ¶ 85(g).) As discussed, “ASOP . . .

issued a false and misleading paid news release on August 18, 2015, wrongly linking

PharmacyChecker . . . to an indictment related to illegal wholesale drug importation.” (Id.

¶ 85(a).) These alleged false and misleading statements suffice to go forward with discovery.

See Keurig Green Mountain., 383 F. Supp. 3d at 240 (holding that attacks on specific alleged

marketing misstatements “are more appropriately raised on summary judgment”). However,

Plaintiff at summary judgment will need to present evidence to overcome the presumption that

their effect on competition was de minimis. See Ayerst, 850 F.2d at 916.

       At oral argument, ASOP stated that this lawsuit is no different from a cigarette producer

suing a consumer advocacy nonprofit for antitrust violations in connection with an anti-smoking

campaign. (Oral Arg. Tr. 54 (“[T]wo consumer health watchdogs would not be able to launch an

anti-smoking campaign without the prospect of antitrust liability to Philip Morris.”).) While this

analogy has rhetorical appeal, the hypothetical cigarette producer plaintiff would likely be unable

to plead competitive injury, for two reasons. First, presumably unlike an anti-smoking

campaign, ASOP singles out Plaintiff to “disparag[e],” while promoting Plaintiff’s competitor

LegitScript. (AC ¶ 85(g).) Second, also presumably unlike an anti-smoking campaign, the

Court here infers that ASOP operates in part to “protect[] the alleged commercial interests of its

. . . members,” Va. Vermiculite, Ltd. v. W.R. Grace & Co., 156 F.3d 535, 541 (4th Cir. 1998),

which include Plaintiff’s competitors GoodRx and LegitScript, (AC ¶ 7). See also Nat’l




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Collegiate Athletic Ass’n v. Bd. of Regents of Univ. of Okla., 468 U.S. 85, 101 n.22 (1984)

(“There is no doubt that the sweeping language of § 1 applies to nonprofit entities.”).18

                       b. PSM

       Similar to ASOP, three sets of allegations suffice to establish that PSM joined the

conspiracy. First, and again most significantly, Plaintiff similarly alleges statements indicating

PSM’s intent to collaborate with its alleged co-conspirators to restrict online pharmacies.

Specifically, it alleges a 2010 email stating that PSM is a stakeholder, along with NABP, in

ASOP’s effort to “address the problem of online drug sellers.” (AC ¶ 69.) Second, Plaintiff

alleges that PSM issued a series of press releases in 2017 and 2018 that touted NABP’s and

ASOP’s work related to online pharmacies and patient safety. (Id. ¶ 77.) As with ASOP, this

allegation makes plausible that PSM’s intent did not change post-2010. Finally, Plaintiff alleges

that PSM and NABP are “observers of ASOP and regularly participate in ASOP meetings and

initiatives.” (Id. ¶ 67(a).) As with ASOP, this provides PSM with opportunity to conspire with

its alleged co-conspirators.

       In addition, Plaintiff alleges that PSM played a role in the alleged conspiracy. In 2018 it

“published an article about the horrors of personal drug importation, . . . claiming that

PharmacyChecker.com’s verifications cannot be trusted and repeating false claims made by

CSIP and ASOP.” (Id. ¶ 85(f).) As with ASOP’s public statements, while this alleged false



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          To refute the presumption that “this membership affiliation renders ASOP’s economic
incentives coextensive with those of its members,” (ASOP’s Mem. 8), ASOP cites LLM Bar
Exam, LLC v. Barbri, Inc., 271 F. Supp. 3d 547 (S.D.N.Y. 2017), aff’d, 922 F.3d 136 (2d Cir.
2019). There, the court rejected the plaintiff’s argument that several of their law professors’
close relationships with Barbri caused various law schools to collude against the plaintiff. Id. at
580 (“[The plaintiff] does [not] attempt to explain why the administrators of the [law schools]
would be invested in ensuring that professors at these schools can continue teaching Barbri
courses on the side.”). This case is inapposite. Law professors are not members but employees
of a law school, so their interests are less prone to converge.
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statement suffices to proceed with discovery, at the summary judgment stage Plaintiff will need

to present evidence to overcome the presumption that their effect on competition was de

minimis. See Ayerst, 850 F.2d at 916.

       C. Plaintiff Plausibly Alleges a Sherman Act Violation

       The Court next considers whether Plaintiff has alleged a Sherman Act violation, and finds

that it has. In so doing, it considers Defendants’ arguments that the Court should apply the rule

of reason rather than the per se rule, (Defs.’ Mem. 29–30), that Plaintiff fails to allege plausible

product and geographic markets, (id. at 26–29), and that Plaintiff fails to allege harm to

competition, (id. at 19–21).

               1. Rule of Reason vs. Per Se Standard

       Defendants argue that the rule of reason is appropriate. (Defs.’ Mem. 29–30.) Plaintiff

argues that it has sufficiently alleged a group boycott that is a per se Sherman Act violation.

(Pl.’s Mem. 31–32.) At this early stage, the Court agrees with Plaintiff.

       In evaluating potential Sherman Act violations, courts employ “two complementary

categories of antitrust analysis.” Nat’l Soc. of Prof’l Engineers v. United States, 435 U.S. 679,

692 (1978). The first category includes agreements that are “illegal per se” because their “nature

and necessary effect are so plainly anticompetitive that no elaborate study of the industry is

needed to establish their illegality.” Id. The second category includes “agreements whose

competitive effect can only be evaluated by analyzing the facts peculiar to the business, the

history of the restraint, and the reasons why it was imposed.” Id. For this second category of

analysis, courts apply the rule of reason. Bogan v. Hodgkins, 166 F.3d 509, 514 (2d Cir. 1999).

Defendants correctly argue that the rule of reason is the default. (Defs.’ Mem. 30.) See Nat’l

Soc. of Prof’l Engineers, 435 U.S. at 692 (noting that courts depart from the rule of reason only



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for “agreements whose nature and necessary effect are so plainly anticompetitive that no

elaborate study of the industry is needed to establish their illegality”); Cont’l T. V., Inc. v. GTE

Sylvania Inc., 433 U.S. 36, 49 (1977) (describing the rule of reason as “the prevailing standard of

analysis”); Bogan, 166 F.3d at 514 (“The majority of allegedly anticompetitive conduct

continues to be examined under the rule of reason.” (citing Capital Imaging Assocs., 996 F.2d at

543)). However, the per se rule is applied to “conduct that is manifestly anticompetitive” and

“would always or almost always tend to restrict competition and decrease output.” Bus. Elecs.

Corp. v. Sharp Elecs. Corp., 485 U.S. 717, 723 (1988). “[W]hen a restraint is deemed unlawful

per se, the need to study an individual restraint’s reasonableness in light of real market forces is

eliminated.” Leegin Creative Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 886 (2007)

(citation and quotation marks omitted).

       Group boycotts are among the Sherman Act violations that may merit per se treatment.

Nw. Wholesale Stationers, Inc. v. Pac. Stationery & Printing Co., 472 U.S. 284, 290 (1985)

(“[C]ertain concerted refusals to deal or group boycotts are so likely to restrict competition

without any offsetting efficiency gains that they should be condemned as per se violations of § 1

of the Sherman Act.”); see also id. at 294 (“Cases to which this Court has applied the per se

approach have generally involved joint efforts by a firm or firms to disadvantage competitors by

either directly denying or persuading or coercing suppliers or customers to deny relationships the

competitors need in the competitive struggle.”). Courts consider three factors in determining

whether a plaintiff has adequately alleged a group boycott. First, has “the boycott . . . cut off

access to a supply, facility, or market necessary to enable the boycotted firm to compete”? Id.

Second, do “the boycotting firms possess[] a dominant position in the relevant market”? Id.

And third, are the practices “justified by plausible arguments that they were intended to enhance



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overall efficiency and make markets more competitive”? Id. “Although a concerted refusal to

deal need not necessarily possess all of these traits to merit per se treatment, not every

cooperative activity involving a restraint or exclusion will share with the per se forbidden

boycotts the likelihood of predominantly anticompetitive consequences.” Id. at 295. Finally, the

Supreme Court has held that actions that “necessarily imply anticompetitive animus . . . thereby

raise a probability of anticompetitive effect.” Id. at 296.

       The Court finds that Plaintiff has sufficiently alleged the factors that contribute to the

finding of a group boycott. As to the first factor, Plaintiff has sufficiently alleged that

Defendants’ actions cut it off from its ability to receive traffic from search engines. In particular,

Plaintiff alleges that it was added to NABP’s Not Recommended Sites list and targeted with

negative ads by CSIP. (AC ¶¶ 87, 90, 93.) As a result, Plaintiff appeared with a warning box on

search results from Bing, which led to a 76% reduction in traffic from Bing. (Id. ¶¶ 92, 95.)19

Overall, Plaintiff’s traffic from organic search results has dropped more than 78%, and its click-

through revenue has dropped more than 77% since March 2019. (Id. ¶ 109.) Plaintiff further

alleges that most of its revenue “is directly related to its performance and visibility in search

engine results.” (Id. ¶ 110.)

       As to the second factor, Plaintiff has alleged enough facts for the Court to draw the

inference that two of the boycotting entities—NABP and LegitScript—have a dominant position




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          At oral argument, Defendants stated that Plaintiff has not alleged “any facts [showing]
an agreement with those gatekeepers.” (Oral Arg. Tr. 32.) Since these gatekeepers are not
named as parties, it suffices that Plaintiff has alleged that Defendants “persuad[ed]” them “to
deny relationships [Plaintiff] need[s] in the competitive struggle.” Nw. Wholesale Stationers,
472 U.S. at 294. (See AC ¶¶ 92–95.)


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in the market for pharmacy accreditation.20 Plaintiff alleges that this market is “highly

concentrated.” (Id. ¶¶ 31, 107(f).) Plaintiff further alleges that its exclusion from the market

“leav[es] only NABP and LegitScript as reasonable choices for pharmacies, consumers, and

vendors to choose from.” (Id. ¶ 107(f).) Even though Plaintiff has alleged that it also competes

with non-party Canadian International Pharmacy Association (CIPA), (id. ¶ 31), the Court infers

that CIPA is a relatively small competitor with limited market power.

       Plaintiff has not adequately alleged that boycotting entities occupy a dominant position in

the market for comparative drug information. Plaintiff does allege that GoodRx is its competitor

in this market, an ASOP member, and “the leading provider of U.S.-only comparative drug price

information.” (Id. ¶¶ 7, 34.) However, it does not make any specific claims about GoodRx’s

role in the alleged conspiracy. (See generally id.) As discussed, the Second Circuit has rejected

the notion that a trade association forms a “walking conspiracy,” and requires particularized

allegations about the role of individual members. AD/SAT, 181 F.3d at 234–35. Thus, Plaintiff

satisfies this requirement for only one of its two alleged markets.

       As to the third factor, Defendants argue that courts apply the rule of reason where “the

alleged restraint relates to an ethical or industry standard reasonably designed to improve or

protect public safety.” (Defs.’ Mem. 29.) However, Defendants reference decisions that were

made after discovery; indeed, both were after trial. See Craftsmen Limousine, Inc. v. Ford Motor

Co., 363 F.3d 761, 776 (8th Cir. 2004) (holding after trial that “[b]ecause the alleged restraints

were arguably based, at least in part, on safety concerns, they may have had some procompetitive




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           The Court considers allegations regarding LegitScript only to the extent needed to
evaluate the Joint Motion, PSM Motion, and ASOP Motion. Cf., In re Publ’n Paper Antitrust
Litig., 690 F.3d 51, 55 (2d Cir. 2012) (holding that a reasonable jury could find a conspiracy
involving the defendant and a former defendant).
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effects. It follows that an abbreviated per se analysis was inappropriate.”); Wilk v. Am. Med.

Ass’n, 719 F.2d 207, 221 (7th Cir. 1983) (holding after trial that “the presence of substantial

evidence of . . . the ‘patient care’ motive . . . rendered the case inappropriate for per se

treatment”). Here, at the pleadings stage, Plaintiff has alleged that “[c]onsumers are . . . less safe

as a direct result of [D]efendants’ conduct,” (AC ¶ 107(h) (emphasis original)), and that

Defendants’ alleged safety motive is “pretextual,” (id. ¶ 105). In other words, the AC does not

“admit that there is a procompetitive justification” for Defendants’ conduct. Flash Elecs., Inc. v.

Universal Music & Video Distrib. Corp., 312 F. Supp. 2d 379, 388 (E.D.N.Y. 2004).

“[Defendants’] various protestations that [Plaintiff] will not be able to prove its allegations will

have to wait for summary judgment; at this early stage of the case, [Plaintiff] is entitled to an

opportunity to try to make its case.” Consumers Warehouse Ctr., Inc. v. Intercounty Appliance

Corp., No. 05-CV-5549, 2007 WL 922423, at *4 (E.D.N.Y. Mar. 26, 2007).

        Finally, Plaintiff sufficiently alleges anticompetitive animus that raises a probability of

anticompetitive effects. NABP is a direct competitor of Plaintiff in the market for pharmacy

accreditation. (AC ¶ 6.) ASOP member GoodRx is a direct competitor of Plaintiff in the market

for comparative drug price information. (Id. ¶ 7.) As discussed, the Court infers that ASOP

operates in part to “protect[] the alleged commercial interests of its . . . members,” Va.

Vermiculite, 156 F.3d at 541. Since “a direct competitor [i]s the driving force behind the

concerted refusal” to allow Plaintiff the ability to appear in search engine results, Bennett v.

Cardinal Health Marmac Distrib., Inc., No. 02-CV-3095, 2003 WL 21738604, at *4 (E.D.N.Y.

July 14, 2003) (citing Klor’s, Inc. v. Broadway-Hale Stores, Inc., 359 U.S. 207, 208 (1959)),

Plaintiff has sufficiently alleged that the group boycott is a result of competitive animus, and is




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among the group boycotts that are likely to restrict competition without offsetting efficiency

gains.

         The Court reaches the same conclusion with respect to both product markets. As

discussed, Plaintiff’s claim with respect to the market for prescription drug price information

satisfies only two of the three factors for alleging a group boycott. It does not allege that the

boycotting firms have a dominant market position. However, “a concerted refusal to deal need

not necessarily possess all [three] traits to merit per se treatment.” Nw. Wholesale Stationers,

472 U.S. at 295. In Northwest Wholesale Stationers, the Supreme Court discussed the

importance of the market dominance factor: “[b]ecause the [boycotting party] occupied such a

dominant position . . . that the boycott would devastate the nonmember, the [Supreme] Court

concluded that the refusal to deal with the nonmember would amount to a per se violation of

§ 1.” Id. at 291. Here, given its alleged 78% decline in site traffic from organic search results,

(AC ¶ 109), its alleged 77% decline in monthly click-through revenue, (id.), and its allegation

that “[m]ost of PharmacyChecker.com’s revenue is directly related to its performance and

visibility in search engine results,” (id. ¶ 110), the Court is satisfied that Plaintiff alleges a

sufficiently “devastat[ing]” boycott, notwithstanding ambiguity about the boycotting parties’

share of the market for prescription drug price information.

         Thus, the Court finds that Plaintiff has adequately alleged a per se violation. This finding

is without prejudice; Defendants will have the opportunity to demonstrate the public safety

rationale of their actions on summary judgment, and to argue that this rationale supports

application of the rule of reason.




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               2. Product and Geographic Markets

       Defendants argue that Plaintiff has failed to plausibly allege the relevant market or

markets. (Defs.’ Mem. 26–29.) “[M]arket definition is a deeply fact-intensive inquiry not

ordinarily subject to dismissal at the pleadings stage.” Concord Assocs., L.P. v. Entm’t

Properties Tr., 817 F.3d 46, 53 (2d Cir. 2016) (quotation marks omitted). However, “there is ‘no

absolute rule’ against dismissal where the plaintiff has failed to articulate a plausible explanation

as to why a market should be limited in a particular way.” Id. (citation omitted). “Thus, in order

to survive a motion to dismiss, it is appropriate for a district court to assess whether the

plaintiffs’ complaint asserts sufficient facts to allege plausibly the existence of both a product

and geographic market.” Id.

       Plaintiff correctly argues that “[m]arket definition is a means—not an end; it merely aids

in the search for competitive injury.” (Pl.’s Mem. 30.) In F.T.C. v. Indiana Federation of

Dentists, the Supreme Court stated that “[s]ince the purpose of the inquiries into market

definition . . . is to determine whether an arrangement has the potential for genuine adverse

effects on competition, proof of actual detrimental effects . . . can obviate the need for [such] an

inquiry.” 476 U.S. 447, 460–61 (1986) (quotation marks omitted). Thus, the standard market

definition inquiry is due to the need to allege harm to competition under the rule of reason. See

id. at 459–61 (considering the significance of market definition while applying the rule of

reason); see also supra (concluding that the requirement to allege harm to competition comes

from the rule of reason inquiry). Consistent with Indiana Federation of Dentists, several courts

have held that a plaintiff alleging a per se injury need not allege a market definition. See, e.g., In

re Mercedes-Benz Anti-Tr. Litig., 157 F. Supp. 2d 355, 364 (D.N.J. 2001) (“[R]equiring market

definition . . . in all cases would undermine the presumption of anticompetitive effect in the



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context of per se antitrust violations” (citing Pace Elecs., Inc. v. Canon Computer Sys., Inc., 213

F.3d 118, 123 (3d Cir. 2000))); see also Campfield v. State Farm Mut. Auto. Ins. Co., 532 F.3d

1111, 1119 (10th Cir. 2008) (“[G]roup boycott. . . [is a] per se violation[], so [the plaintiff’s]

failure to allege a relevant market is not fatal to [its] claims.”); Int’l Television Prods. Ltd. v.

Twentieth Century-Fox, 622 F. Supp. 1532, 1539 (S.D.N.Y. 1985) (“If . . . a [per se] violation is

alleged, the plaintiffs need not show a deleterious impact on competition.” (citation omitted)); cf.

In re Aluminum Warehousing Antitrust Litig., No. 13-MD-2481, 2014 WL 4277510, at *24

(S.D.N.Y. Aug. 29, 2014) (“[T]he pleading burden as to market definition is lower for per se

violations of § 1.”), aff’d, 833 F.3d 151 (2d Cir. 2016).

        However, Plaintiff must allege product and geographic markets in order to establish a per

se violation. The Second Circuit has clarified that “it is an element of a per se case to describe

the relevant market in which we may presume the anticompetitive effect would occur.” Bogan,

166 F.3d at 515; see also Meijer, Inc. v. Barr Pharm., Inc., 572 F. Supp. 2d 38, 49 n.14 (D.D.C.

2008) (“[C]ourts must evaluate relevant market dynamics prior to condemning a restraint as a per

se violation of the antitrust laws.”). The Court is not aware of any basis to distinguish a market

definition inquiry for purposes of the rule of reason from a market definition inquiry for purposes

of evaluating an alleged per se violation. Thus, the Court applies the standard from the rule of

reason case law to evaluate whether Plaintiff has alleged a group boycott that merits per se

treatment.

        Regarding the product market, “an antitrust complaint must explain why the market it

alleges is the relevant, economically significant product market.” Concord Assocs., 817 F.3d at

54. “If a complaint fails to allege facts regarding substitute products, to distinguish among

apparently comparable products, or to allege other pertinent facts relating to cross-elasticity of



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demand . . . a court may grant a Rule 12(b)(6) motion.” Re-Alco Indus., Inc. v. Nat’l Ctr. for

Health Educ., Inc., 812 F. Supp. 387, 391–92 (S.D.N.Y. 1993). Where the plaintiff “alleges a

proposed relevant market that clearly does not encompass all interchangeable substitute products

even when all factual inferences are granted in plaintiff’s favor, the relevant market is legally

insufficient, and a motion to dismiss may be granted.” Apani Sw., Inc. v. Coca-Cola Enters.,

Inc., 300 F.3d 620, 628 (5th Cir. 2002). “Any viable relevant market . . . must take into account

any reasonably interchangeable substitutes for the product in question.” Mathias v. Daily News,

L.P., 152 F. Supp. 2d 465, 481 (S.D.N.Y. 2001).

       Regarding the geographic market, “[c]ourts generally measure a market’s geographic

scope, the ‘area of effective competition,’ by determining the areas in which the seller operates

and where consumers can turn, as a practical matter, for supply of the relevant product.”

Heerwagen v. Clear Channel Commc’ns, 435 F.3d 219, 227 (2d Cir. 2006). The plaintiff may,

but is not required to, allege a geographic market that is smaller than nationwide. See Tampa

Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 327 (1961) (“[T]he ‘line of commerce’ affected

need not be nationwide, at least where the purchasers cannot, as a practical matter, turn to

suppliers outside their own area.”).

       Here, Plaintiff alleges the worldwide online pharmacy verification market and the

worldwide comparative prescription drug pricing markets. (AC ¶¶ 30–36.) The Court finds that

Plaintiff has adequately alleged these two markets.

       The Court notes that Defendants’ arguments focus on the over-breadth of Plaintiff’s

alleged product markets. (See Defs.’ Mem. 28–29.) Where complaints are dismissed on the

pleadings, it is typically because the alleged market is too narrow. See, e.g., Concord Assocs.,

817 F.3d at 54 (affirming dismissal of a complaint that alleged harm to the “racing/gaming



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market in the Catskills region” without alleging “why their proposed resort differs from the

variety of other options for tourists to combine a gambling trip, access to natural resources, and

other related activities available more or less the same distance from the NY Metro area”);

Mathias, 152 F. Supp. 2d at 481–82 (dismissing complaint where alleged market was “home

delivery subscriptions of the Daily News,” and there was “no discussion of other products in the

market that potentially compete with the Daily News, of arguably competing products that

should not be included the market, or of the factors that make the Daily News a unique market”

(alteration omitted)); Re-Alco Indus., 812 F. Supp. at 392 (dismissing complaint where the

plaintiff “made no showing why [one particular health education program’s] materials should be

considered a market unto themselves, as distinguished from the market suggested by

defendants—all health education materials for elementary schools”).

       With respect to the alleged market for pharmacy verification, Defendants do not suggest

that this market is too narrow. Nor do Defendants identify any relevant substitutes. (See

generally Defs.’ Mem.) Further, the Court infers that the AC’s allegation that Plaintiff’s product

is “unique,” (AC ¶ 33; see also Defs.’ Mem. 28), serves to differentiate it from its competitors in

the market, not to categorize it in a separate market. Thus, the Court finds that Plaintiff has

plausibly alleged a market for pharmacy accreditation.

       With respect to the alleged market for comparative prescription drug pricing information,

Defendants argue that the defined market is too narrow because “Plaintiff does not allege that

drug purchasers cannot easily turn to a host of alternative internet sources to find ubiquitous

information about online pharmacies around the globe.” (Defs.’ Mem. 29.) However, because

Defendants do not suggest any specific interchangeable products available from internet sources,

the alleged market is plausible despite the absence of such allegations. Defendants also argue



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that none of them competes in this market. (Id.) Generally, there is no requirement that the

plaintiff be “a participant in the same market as the defendant,” so long as the complaint alleges

that the markets are “inextricably intertwined,” thereby “suppl[ying] the reason defendants

would bother to corrupt some market in which they do not participate.” In re N. Sea Brent Crude

Oil Futures Litig., 256 F. Supp. 3d 298, 311 (S.D.N.Y. 2017), aff’d sub nom. Prime Int’l

Trading, Ltd. v. BP P.L.C., 937 F.3d 94 (2d Cir. 2019). In these circumstances, “the conspirators

use[] the plaintiff’s injury as the means, fulcrum, conduit, or market force to realize their illegal

ends.” In re Aluminum Warehousing Antitrust Litig., 833 F.3d 151, 160–61 (2d Cir. 2016)

(quotation marks omitted). Here, Plaintiff alleges that Defendants are trying to disrupt consumer

access to international price information, “to create and enforce new territorial market restraints

through private agreements.” (AC ¶ 25.) Further, ASOP’s member GoodRx competes in this

market. (Id. ¶ 34.) Both factors provide “reason[s] defendants would bother to corrupt some

market in which they do not participate.” N. Sea Brent, 256 F. Supp. 3d at 311.

       Finally, Defendants argue that both markets “cannot be global as a matter of law.”

(Defs.’ Mem. 28.) Plaintiff alleges that the market for information about accredited pharmacies

and drug prices is global because pharmaceutical products are substitutable internationally. (AC

¶ 36.) As discussed, Defendants admit that personal imports of drugs “might” be allowed in

some circumstances. (Defs.’ Mem. 4.) Since personal imports may in some circumstances be

legal, the Court cannot conclude at the motion to dismiss stage that the alleged markets are not

global as a matter of law. While Defendants may raise the same argument on a motion for

summary judgment, at this early stage the Court finds that Plaintiff’s alleged markets suffice to

support its claim of a per se injury.




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               3. Harm to Competition

       The Joint Motion argues that the AC should be dismissed because it does not allege harm

to competition. (Defs.’ Mem. 19–21.) Plaintiff correctly argues that it must show harm to

competition only under the rule of reason. (See Pl.’s Mem. 17.) See Tops Markets, Inc. v.

Quality Markets, Inc., 142 F.3d 90, 96–97 (2d Cir. 1998); Capital Imaging Assocs. v. Mohawk

Valley Med. Assocs., 996 F.2d 537, 543 (2d Cir.1993); Wellnx Life Scis. Inc. v. Iovate Health

Scis. Research Inc., 516 F. Supp. 2d 270, 293 (S.D.N.Y. 2007). By contrast, “allegations

pleading harm to competition are not required to withstand a motion to dismiss when the conduct

challenged is a per se violation.” Gelboim, 823 F.3d at 775; see also id. at 776 (“[R]equiring a

plaintiff to demonstrate that an injury stemming from a per se violation of the antitrust laws

caused an actual adverse effect on a relevant market in order to satisfy the antitrust injury

requirement comes dangerously close to transforming a per se violation into a case to be judged

under the rule of reason . . . .” (quoting Pace Elecs., Inc. v. Canon Comput. Sys., Inc., 213 F.3d

118, 123–24 (3d Cir. 2000))). Because the Court finds that Plaintiff alleges a per se violation, it

does not need to allege harm to competition, and the Joint Motion is denied insofar as it seeks

dismissal on these grounds.21 Defendants may advance the same argument on summary

judgment, particularly if they are able to establish that the rule of reason controls.

       D. Plaintiff’s Claims Are Not Barred by the Statute of Limitations

       Defendants argue that Plaintiff’s Sherman Act claims are barred by the statute of

limitations. (Defs.’ Mem. 30–31.) Their principle argument is that “alleged conduct more than




       21
          The Court thus does not consider Defendants’ argument that Plaintiff fails to allege
harm to competition, (see Defs.’ Mem. 19–21), including its argument that Plaintiff cannot
“claim[] harm to competition in the ‘related market(s) for prescription medication,’” (Defs.’
Reply 9).
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four years before the commencement of this action (August 13, 2015 and earlier) should not be

considered.” (Id. at 30.)

       The statute of limitations for Sherman Act claims is four years. 15 U.S.C. § 15b.

       In the context of a continuing conspiracy to violate the antitrust laws, . . . each time
       a plaintiff is injured by an act of the defendants a cause of action accrues to him to
       recover the damages caused by that act and . . . , as to those damages, the statute of
       limitations runs from the commission of the act.

Zenith Radio Corp. v. Hazeltine Research, Inc., 401 U.S. 321, 338 (1971). “Evidence of claims

which cannot give rise to liability because of a statute of limitations may be introduced to show

the nature of the transactions under scrutiny and to establish a continuing course of conduct.”

Colorado ex rel. Woodard v. Ramsour Bros., No. 84-CV-802, 1986 WL 7823, at *6 (D. Colo.

July 9, 1986).

       Here, Plaintiff filed its Complaint on August 13, 2019. (Dkt. No. 1.) All of the conduct

that allegedly gave rise to damages claims occurred after August 13, 2015.22 Where Defendants

allegedly played a role in the conspiracy and the AC alleges a date, these acts likewise allegedly

occurred after August 13, 2015.23 Where Defendants allegedly played a role in the conspiracy

and the AC does not allege a date, there is no basis for the Court to grant the Joint Motion on

statute of limitations grounds. See Natkin v. Am. Osteopathic Ass’n, No. 16-CV-1494, 2019 WL

1763242, at *15 (D. Or. Apr. 22, 2019) (“The fact that no date is alleged . . . means that




       22
         NABP added Plaintiff to its Not Recommended Sites list in December 2018. (AC
¶ 87.) CSIP’s actions reducing Plaintiff’s availability in search results occurred in June and July
2019. (Id. ¶¶ 93–95.)
       23
         ASOP allegedly issued a false and misleading paid news release on August 18, 2015,
(AC ¶ 85(g).) PSM in 2018 published a false and misleading article concerning
PharmacyChecker.com. (Id. ¶ 85(f).)
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[Defendants] cannot rely on the statute of limitations on a motion to dismiss.”).24 Alleged acts

prior to August 13, 2015 may be introduced as evidence of a continuing conspiracy.

       Thus, the Joint Motion is denied insofar as it seeks to dismiss the AC because its claims

are barred by the statute of limitations.

                                       IV. Lanham Act Claim

       To plead a claim under § 43(a) of the Lanham Act, the AC must allege that (1) “the

statement in the challenged advertisement is false,” (2) “the defendants misrepresented an

inherent quality or characteristic of the product,” (3) “the defendant placed the false or

misleading statement in interstate commerce,” and (4) “the plaintiff has been injured as a result

of the misrepresentation, either by direct diversion of sales or by a lessening of goodwill

associated with its products.” Merck Eprova AG v. Gnosis S.p.A., 760 F.3d 247, 255 (2d Cir.

2014) (alterations, citations, and quotation marks omitted).25 Plaintiff alleges a Lanham Act

claim only against NABP. (AC 51.) NABP argues, pursuant to Rule 12(b)(6), that Plaintiff has

not satisfied the first requirement that the statement be false, (Defs.’ Mem. 32–37), or the third

requirement that the statement be placed in interstate commerce, (id. at 37–39). The Court

denies the Joint Motion with respect to these arguments.

       A. Plaintiff Adequately Alleges Falsity

       “To prove that first element, a plaintiff must show one of two different theories of

recovery: the challenged advertisement is (1) literally false or (2) likely to mislead or confuse



       24
         ASOP’s FAQ webpage is undated. (AC ¶ 85(g).) Plaintiff also alleges that NABP or
LegitScript persuaded vendors to categorize PharmacyChecker.com as not safe, malicious, or
pornography, but provides no date for this action. (Id. ¶ 84.)
       25
           At least one court has found that false statements about a competitor’s product can be
the basis for a Lanham Act violation. See Manning Int’l Inc. v. Home Shopping Network, Inc.,
152 F. Supp. 2d 432, 438 (S.D.N.Y. 2001).
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consumers (‘impliedly false’).” Lokai Holdings LLC v. Twin Tiger USA LLC, 306 F. Supp. 3d

629, 638 (S.D.N.Y. 2018) (citing Merck Eprova AG, 760 F.3d at 255). Disjunctive statements—

two claims separated by “or”—are not literally false if one part of the statement is true. Border

Collie Rescue, Inc. v. Ryan, 418 F. Supp. 2d 1330, 1347 (M.D. Fla. 2006). To allege that a

statement was impliedly false, “the plaintiff must allege that consumers or retailers were misled

or confused by the challenged advertisement and offer facts to support that claim.” Lokai

Holdings, 306 F. Supp. 3d at 639. The complaint must do more than “identify[] a broad swath of

people [that were] allegedly deceived.” Liberty Counsel, Inc. v. GuideStar USA, Inc., 737 F.

App’x 171, 172 (4th Cir. 2018). The complaint must provide “further factual enhancement.” Id.

For example, it is insufficient to allege that “consumers who perform a Google search . . . will

see the [disparaging] website on the first page of results,” unless the plaintiff asserts “facts to

support a conclusion that any potential [customers] are likely to be dissuaded.” Davis v. Avvo,

Inc., 345 F. Supp. 3d 534, 544 (S.D.N.Y. 2018). “Subjective claims about products, which

cannot be proven either true or false, are not actionable under the Lanham Act.” Groden v.

Random House, Inc., No. 94-CV-1074, 1994 WL 455555, at *5 (S.D.N.Y. Aug. 23, 1994), aff’d,

61 F.3d 1045 (2d Cir. 1995). Indeed, allegations made in a complaint can indicate that a term or

phrase is subject to multiple interpretations and, thus, “not unambiguous.” Fischer v. Forrest,

286 F. Supp. 3d 590, 618 (S.D.N.Y. 2018), aff’d, 968 F.3d 216 (2d Cir. 2020).

       The Court divides NABP’s alleged statements into two groups: statements about

safety/risk, and statements about legality. The Court considers each in turn.

               1. Safety and Risk

       Plaintiff alleges that NABP made four false statements related to safety and risk. First,

the Not Recommended Sites list “includes websites that ‘are known to be unsafe’ or that ‘may:



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Dispense prescription medicine without a prescription; Dispense foreign or unapproved

medicine; or Refer/link patients to sites that facilitate the dispensing of prescription medications

in violation of state or federal law or NABP standards.’” (AC ¶ 119 (alterations omitted).)

Second, “[o]rdering drugs from these websites put you and your family at risk.” (Id.) Third,

“[t]he following sites are all known to be unsafe.” (Id. ¶¶ 121, 122.) Fourth, “[u]sing websites

on the NRL to purchase drugs may put you or your loved ones at risk.” (Id.¶ 123.)

        Courts are divided on whether such statements about safety and risk are objective or

subjective. Compare Precision IBC, Inc. v. PCM Capital, LLC, No. 10-CV-682, 2011 WL

5444114, at *15 (S.D. Ala. Oct. 17, 2011) (finding these claims are objective because an

allegation of “safety problems is capable of being proven true or false,” and allegations that a

product “fail[s] to meet safety standards is not vague or subjective”), report and recommendation

adopted, 2011 WL 5444111 (S.D. Ala. Nov. 10, 2011) with Aviation Fin. Co. v. Chaput, No. 14-

CV-8313, 2015 WL 13203653, at *17 (S.D.N.Y. Mar. 12, 2015) (finding the opposite because

identifying “risk” speaks to “vague and possibly subjective consequences that cannot be proven

true or false”).

        Between these two poles, the Eleventh Circuit has posited a middle ground: “statements

regarding serious safety concerns arguably could be construed as more than general statements

of opinion.” Osmose, Inc. v. Viance, LLC, 612 F.3d 1298, 1311 (11th Cir. 2010). Rather than

“subjective statements regarding the efficacy or superiority of a product[,] . . . they can be

viewed as expressing an objective risk of serious consequences that fairly implies a basis for that

statement.” Id. Further, “the proposition of serious safety risks . . . could be judged true or false

based on empirical testing of the product.” Id. Thus, recognizing “the importance of context

when analyzing false advertising claims,” the court concluded that, because these “statements of



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opinion regarding serious safety concerns were generally made in the same sentence as a

reference to its ‘findings[,]’ . . . they clearly indicated that the findings were the basis of and

support for the expressions of safety concerns.” Id. at 1311–12.

        Following the Eleventh Circuit, the Court holds that even if NABP’s statements about

safety are opinions (and not facts) they are particularly likely to mislead because they appear to

have a factual basis. For example, NABP states that the sites on the NRL are “known to be

unsafe.” (AC ¶¶ 121, 122; Dkt. No. 102-1 at 108.) Like the references to “findings” in Osmose,

the word “known” suggests a basis, and is thus particularly likely to mislead.

        Consistent with this conclusion, the Court further determines that Plaintiff has adequately

alleged that consumers were misled. In particular, Plaintiff has alleged that these statements

“send a negative signal to search engines that a listed site is a risk to users” and “frighten

consumers away from a listed site while directing them to NABP affiliates.” (AC ¶ 124.) It has

also alleged that these signals have “had a profound negative effect on consumer web traffic to

its website.” (Id. ¶ 136; see also id. ¶ 109 (alleging declines in site traffic from search results

and click-through revenue).)

        Thus, the Joint Motion is denied insofar as it seeks dismissal because Plaintiff fails to

allege false statements about safety and risk.

                2. Illegality

        Plaintiff alleges that NABP made two false statements related to its illegality. First,

“‘[a]void [t]hese [w]ebsites’ [on the Not Recommended Sites list] because they ‘appear to be out

of compliance with state and federal laws or NABP patient safety and pharmacy practice

standards.’” (Id. ¶ 119.) Second, “websites on the list . . . are ‘acting illegally or do not follow

best practices.’” (Id. ¶ 120.)



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        These statements are alleged to be literally false as they relate to

PharmacyCheckerBlog.com, but not as they relate to PharmacyChecker.com. Since both

statements are disjunctive, if one element of each statement is true, they cannot be literally false.

The AC contains no allegations regarding PharmacyChecker.com’s compliance with “NABP

patient safety and pharmacy practice standards,” (id. ¶ 119), or “best practices,” (id. ¶ 120).

Thus, these statements cannot be the basis of liability because of their literal falsity, at least as

they relate to PharmacyChecker.com. Plaintiff’s blog is a different matter. The AC does allege

that “NABP’s statements about PharmacyCheckerBlog.com are literally false, because it is a

policy advocacy blog that does not even arguably meet any criteria that NABP lists on the Not

Recommended Sites list.” (Id. ¶ 129.) Thus, Plaintiff has successfully alleged that NABP’s

statements about its blog are literally false.26

        The Court finds that the statements about the legality of PharmacyChecker.com are

alleged to be impliedly false because they are likely to mislead or confuse consumers. Plaintiff

alleges that NABP conflates PharmacyChecker.com with “illegal or rogue sites” that “are located

outside the U.S.” and are “faking [their] licenses.” (Id. ¶ 131.) Plaintiff further alleges that

NABP has earlier stated about Plaintiff: “clearly they serve a purpose, and they help consumers,

and we serve a different purpose, or maybe just slightly different.” (Id. ¶ 88.) According to

Plaintiff, this conflation in light of NABP’s prior statements “shows that NABP is intentionally

misleading the relevant purchasing public.” (Id. ¶ 131.) “[W]here a plaintiff adequately

demonstrates that a defendant has intentionally set out to deceive the public, and the defendant’s

deliberate conduct in this regard is of an egregious nature, a presumption arises that consumers



        26
          At the pleadings stage, the Court does not consider NABP’s argument that “the .com
and the blog . . . are one and the same.” (Oral Arg. Tr. 94.) NABP may raise this argument at
summary judgment.
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are, in fact, being deceived.” Merck Consumer Pharm. Co. v. Smithkline Beecham Corp., 960

F.2d 294, 298 (2d Cir. 1992) (quotation marks omitted).

       Within this framework, Plaintiff adequately pleads intent. Rule 8 requires that intent be

alleged plausibly. Iqbal, 556 U.S. at 686–87 (2009) (“[Rule 9] does not give [the plaintiff]

license to evade the less rigid—though still operative—strictures of Rule 8.”). Plaintiff has

reached this bar, alleging a motive to deceive because NABP competes with Plaintiff, (AC ¶ 6),

and due to an inconsistency with NABP’s prior statements, (id. ¶¶ 88, 131).

       Plaintiff also adequately pleads egregious misconduct. Generally, “a high level of

evidence is required to show the kind of ‘egregious’ misconduct required to meet this standard.”

Merck Eprova AG v. Brookstone Pharm., LLC, 920 F. Supp. 2d 404, 421 (S.D.N.Y. 2013)

(alterations omitted). Courts have found that plaintiffs have failed to meet this bar where, for

example, no evidence suggested that the defendants were aware of the misleading effect, Tiffany,

Inc. v. eBay, Inc., No. 04-CV-4607, 2010 WL 3733894, at *4 (S.D.N.Y. Sept. 13, 2010) (finding

that plaintiff failed to present evidence of “egregious misconduct” because “nothing in the record

indicates that [the defendant] was aware that consumers were being misled”), or the alleged

deception was common in the industry, Johnson & Johnson-Merck Consumer Pharm. Co. v.

Rhone-Poulenc Rorer Pharm., Inc., 19 F.3d 125, 132 (3d Cir. 1994) (finding no egregious

misconduct where the defendant’s intent to mislead “is of a kind regrettably pervasive

throughout the . . . industry”). Here, Plaintiff alleges that NABP intended to deceive, (AC ¶¶ 6,

131 (noting that NABP competes with Plaintiff, and that its derogatory statements contradicted

its prior statements)), and the record does not suggest that such deception is common in the

industry. Thus, the AC plausibly alleges that NABP’s conduct was egregious such that, if the

evidence is consistent with the allegations, a jury might conclude that NABP behaved



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egregiously. See Merck Eprova AG v. ProThera, Inc., No. 08-CV-35, 2010 WL 9098310, at *7

(S.D.N.Y. Oct. 20, 2010) (“[I]t is for a jury to determine whether the parameters of [the

d]efendant’s conduct was egregious.”).

       Thus, the Joint Motion is denied insofar as it seeks dismissal because Plaintiff fails to

allege false statements about its illegality. NABP may raise the same arguments at summary

judgment should Plaintiff be unable to present evidence that NABP’s speech actually misled

consumers, or that Plaintiff is entitled to a presumption that consumers were deceived. See

Merck Eprova AG, 760 F.3d at 256.

       B. Plaintiff Adequately Alleges Commercial Speech

       In the Second Circuit, to be “commercial advertising or promotion” under the Lanham

Act, a statement must be: “(1) commercial speech, (2) made for the purpose of influencing

consumers to buy defendant’s goods or services, and (3) although representations less formal

than those made as part of a classic advertising campaign may suffice, they must be disseminated

sufficiently to the relevant purchasing public.” Gmurzynska v. Hutton, 355 F.3d 206, 210 (2d

Cir. 2004) (quotation marks omitted). As Plaintiff notes, (see Pl.’s Mem. 37), NABP does not

contest the third element. The Court finds that Plaintiff sufficiently alleged that NABP’s

representations were disseminated.27

       The Supreme Court initially defined commercial speech as “speech which does no more

than propose a commercial transaction.” Gordon & Breach Sci. Publishers S.A. v. Am. Inst. of




       27
           Several cases are consistent with the view that Plaintiff has satisfied this requirement.
See, e.g., Enigma Software Grp. USA, LLC v. Bleeping Computer LLC, 194 F. Supp. 3d 263,
295–96 (S.D.N.Y. 2016) (finding that statements “posted on a public Internet forum” were
“disseminated sufficiently”); Cannella v. Brennan, No. 12-CV-1247, 2014 WL 3855331, at *4
(E.D. Pa. Aug. 6, 2014) (“[F]alse and misleading negative comments about the plaintiff’s
business posted on an internet website, may be properly brought under [§] 43(a).”).
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Physics, 859 F. Supp. 1521, 1537 (S.D.N.Y. 1994) (quoting City of Cincinnati v. Discovery

Network, Inc., 113 S. Ct. 1505, 1513 (1993)). However, it has broadened this definition to

include “expression related solely to the economic interests of the speaker and its audience.”

Gordon & Breach, 859 F. Supp. at 1537 (quoting Discovery Network, 113 S. Ct. at 1513). That

a nonprofit “stood to benefit from publishing [its statements]—even that they intended to

benefit—is insufficient by itself to turn the [statements] into commercial speech.” Id. at 1541

(citing Riley v. Nat’l Fed’n of the Blind of N. Carolina, Inc., 487 U.S. 781, 795–96 (1988)).

       The Second Circuit has held that publications discussing a matter of public concern are

not commercial speech. Boule v. Hutton, 328 F.3d 84, 91–92 (2d Cir. 2003). However, since

“many, if not most, products may be tied to public concerns with the environment, energy,

economic policy, or individual health and safety, . . . [t]here is no reason for providing similar

constitutional protection when such statements are made only in the context of commercial

transactions.” Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of N.Y., 447 U.S. 557, 563

n.5 (1980). “[A] ‘hybrid’ communication, i.e., one that combines commercial and non-

commercial elements, may nonetheless be ‘commercial’ where (1) it is an advertisement; (2) it

refers to a specific product or service; and (3) the speaker has an economic motivation for the

speech.” Enigma Software Grp., 194 F. Supp. 3d at 294; see also Bolger v. Youngs Drug Prod.

Corp., 463 U.S. 60, 66–68 (1983).

       Here, NABP’s alleged statements meet all three of these requirements. First, the AC

alleges that NABP’s statements “propose commercial transactions (e.g. ‘Buy safely’ with a link

to a list of NABP affiliates).” (AC ¶ 135(c); see also id. ¶¶ 123, 134.) The Court finds that these

allegations are sufficient to categorize NABP’s statements as advertisements. One court has held

that a product review was an advertisement where it “provide[d] links . . . where consumers



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c[ould] make purchases” from a competitor. GOLO, LLC v. Higher Health Network, LLC, No.

18-CV-2434, 2019 WL 446251, at *8–9 (S.D. Cal. Feb. 5, 2019). Another court has held that

promoting affiliates’ products as superior to the products of the affiliates’ competitor

“unmistakably constitute[d] advertisements.” Enigma Software, 194 F. Supp. 3d at 294. Here,

Plaintiff alleges that NABP’s disparaging comments about it are on the same website as both

exhortations to buy from other providers, and a link to a list of specific alternative providers.

(AC ¶¶ 123, 134, 35(c).) By contrast, the cases NABP cites find no advertisement where ratings

publications “simply provide[d] information” and “d[id] not themselves propose[] a commercial

transaction.” Davis v. Avvo, Inc., 345 F. Supp. 3d 534, 540 (S.D.N.Y. 2018); see also Gordon &

Breach, 859 F. Supp. at 1539 (accepting the defendants’ position that their speech did not

“propos[e] a commercial transaction”), holding modified by Fashion Boutique of Short Hills, Inc.

v. Fendi USA, Inc., 314 F.3d 48 (2d Cir. 2002). (See Defs.’ Mem. 38.) Second, as discussed,

these advertisements refer consumers to specific NABP affiliates from which to “[b]uy safely.”

(AC ¶ 135(c).) Third, the AC alleges that NABP competes with Plaintiff in the market for

pharmacy accreditation, which provides economic motivation for its speech. (Id. ¶ 6.) Thus,

Plaintiff has plausibly alleged that NABP’s statements were commercial speech.28

       For the same reasons, the Court concludes that Plaintiff has alleged that NABP’s

statements were “made for the purpose of influencing consumers to buy defendant’s goods or




       28
          At oral argument, NABP argued that “Plaintiff in order to establish commercial speech
needs to show that the speech drove consumers to buy Defendants’ goods and services.” (Oral
Arg. Tr. 97.) The Court is not aware of cases holding that speech is not commercial unless a
transaction occurs, and neither case cited by NABP at oral argument supports this view. See
Baiqiao Tang v. Wengui Guo, No. 17-CV-9031, 2019 WL 1207859, at *4 (S.D.N.Y. Mar. 14,
2019); Enigma Software, 194 F.Supp.3d at 293–95. (See also Oral Arg. Tr. 98–99 (“I don’t
think that . . . as a matter of meeting the pleading standard on a Lanham Act claim that you have
to show that a consumer transaction actually occurred.”).)
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services,” since they promoted NABP-affiliated sites over Plaintiff-affiliated sites. (Id. ¶¶ 123,

134, 35(c).) Thus, the Joint Motion is denied insofar as it seeks dismissal because Plaintiff fails

to allege that NABP placed its statements in interstate commerce.29

                                          V. Conclusion

       For the foregoing reasons, the Joint Motion is denied, the PSM Motion is granted in part

and denied in part, the ASOP Motion is denied, and the LegitScript Motion is granted. The
                                                            May 18, 2021
Court will hold a status conference via teleconference on _________________     10:30 AM
                                                                            at _________.

       The Clerk of Court is respectfully directed to terminate the pending Motions, (Dkt. Nos.

97, 100, 104, 119).

SO ORDERED.

DATED:         March 30
                     __, 2021
               White Plains, New York
                                                      ____________________________________
                                                      KENNETH M. KARAS
                                                      UNITED STATES DISTRICT JUDGE




       29
          Referring to Plaintiff’s blog, NABP claim at oral argument that “NABP’s statement
about a noncommercial entity by definition can’t be commercial speech.” (Oral Arg. Tr. 102.)
This argument is not in NABP’s briefing, which focuses on the character of NABP’s statements,
not Plaintiff’s operations. (See Defs.’ Mem. 37–39.) As a result, the Court does not consider
this argument. See Ebin v. Kangadis Family Mgmt. LLC, 45 F. Supp. 3d 395, 398 n.2 (S.D.N.Y.
2014) (declining to consider oral argument position that “was not briefed in [the defendants’]
papers and so was not preserved for the purposes of this motion”). NABP may raise this
argument at summary judgment.
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